                         UNITED STATES DISTRICT COURT
                         WESTERN DISTRICT OF MISSOURI

BILLIE RODRIGUEZ, DANIEL ERWIN,
MICHAEL B. ACKERMAN, KYLE
FOREMAN, DREW SCRUGGS, MARY
KANE MCQUEENY, EMILY THORPE,
JENNIFER TRITT, and THE BOARD OF
COUNTY COMMISSIONERS OF THE
COUNTY OF FORD, individually and on
behalf of all others similarly situated,       Civil Action No. 4:24-00803

                                               Honorable Stephen R. Bough
                     Plaintiffs,

                v.
                                             ORAL ARGUMENT REQUESTED
EXXON MOBIL CORPORATION,
CHEVRON USA INC., CHEVRON PHILLIPS
CHEMICAL COMPANY LP, DUPONT de
NEMOURS INC., CELANESE
CORPORATION, DOW INC., DOW
CHEMICAL COMPANY, EASTMAN
CHEMICAL COMPANY,
LYONDELLBASELL INDUSTRIES, N.V.,
and AMERICAN CHEMISTRY COUNCIL,

                     Defendants,

And

STATE OF KANSAS, ex rel. KRIS W.
KOBACH, Attorney General,

                     Defendant-Intervenor.

                      SUGGESTIONS IN SUPPORT OF
       DEFENDANTS’ MOTION TO DISMISS PLAINTIFFS’ FIRST AMENDED
      CLASS ACTION COMPLAINT PURSUANT TO RULES 12(B)(1) AND 12(B)(6)
                                                   TABLE OF CONTENTS
PRELIMINARY STATEMENT .....................................................................................................1
FACTUAL BACKGROUND ..........................................................................................................4
LEGAL STANARD.........................................................................................................................7
ARGUMENT ...................................................................................................................................8
          I.         PLAINTIFFS LACK ARTICLE III STANDING (ALL COUNTS) .......................8
          II.        PLAINTIFFS FAIL TO STATE ANY ANTITRUST CLAIM (COUNTS
                     1, 18–45) ................................................................................................................10
                     A.         Plaintiffs Fail to Allege Any Restraint of Trade ........................................10
                     B.         Plaintiffs Fail to Plead an Agreement ........................................................11
                               1.         Plaintiffs Rely on Improper Group Pleading ...................................12
                               2.         Plaintiffs Have Not Pleaded Direct Evidence of an Unlawful
                                          Agreement .......................................................................................13
                               3.         Plaintiffs Have Pleaded No Circumstantial Evidence From
                                          Which This Court May Infer an Unlawful Agreement ...................13
                                           i          Plaintiffs Fail to Plead Parallel Conduct ............................13
                                           ii         Plaintiffs Fail To Allege Any “Plus Factors” ....................15
                     C.         Defendants’ Conduct is Immune Under the Noerr-Pennington
                                Doctrine......................................................................................................17
                     D.         Plaintiffs Do Not Plausibly Allege an Unreasonable Restraint of
                                Trade ..........................................................................................................18
                               1.         Plaintiffs Fail to Adequately Allege a Relevant Market .................18
                               2.         Plaintiffs Fail to Plausibly Allege Detrimental Effects on
                                          Competition .....................................................................................20
                     E.         Plaintiffs Fail to Plead Antitrust Standing .................................................22
                               1.         Plaintiffs Have Not Plausibly Alleged Antitrust Injury ..................22
                               2.         Plaintiffs Are Not “Proper Parties” .................................................23
                     F.         Additional Independent Grounds to Dismiss the State Antitrust
                                Claims Exist ...............................................................................................26
          III.       FORD COUNTY FAILS TO STATE A PUBLIC NUISANCE CLAIM
                     (COUNT 2) ............................................................................................................27
                     A.         Kansas Law Governs Ford County’s Public Nuisance Claim ...................28
                     B.         The Board of County Commissioners of Ford County Lacks the
                                Authority to Bring a Public Nuisance Claim on Either an
                                Individual or Class Basis ...........................................................................28
                     C.         Ford County’s Public Nuisance Claim Fails for Numerous Reasons ........30
                              1.         Defendants’ Lawful Sale of Plastic and Promotion of
                                         Recycling Are Authorized and Protected by Law ...........................31
                              2.         Ford County Does Not Plead Conduct that Is Frequent or
                                         Continuous.......................................................................................33
                              3.         No Proximate Cause Links the Alleged Conduct and Ford
                                         County’s Injury................................................................................34
                              4.         Disposal of Plastic Was Not Within Defendants’ Control ..............35
          IV.        PLAINTIFFS FAIL TO StATE A VIABLE CONSUMER FRAUD
                     CLAIM ...................................................................................................................36
                     A.         Plaintiffs Have Not Satisfied the Rule 9(b) Pleading Standard
                                (Counts 3–17).............................................................................................36
                     B.         Plaintiffs Fail to Establish Standing for Certain of the Consumer
                                Fraud Claims (Counts 3–7 & 9–17) ...........................................................38
                     C.         Plaintiffs Fail to Plausibly Allege Any Actionable Deception
                                (Counts 3–17).............................................................................................39
                              1.         Lobbying Efforts Are Protected Under the First Amendment ........40
                              2.         Statements Mandated by the Government Are Protected ...............40
                              3.         No Reasonable Consumer Would Be Misled by the
                                         Challenged Statements ....................................................................41
                              4.         Plaintiffs Fail to Allege an Actionable Omission (Counts 3–
                                         4, 8) ..................................................................................................44
          V.         PLAINTIFFS FAIL TO STATE AN UNJUST ENRICHMENT CLAIM
                     (COUNT 46) ..........................................................................................................46
          VI.        ALL OF PLAINTIFFS’ CLAIMS ARE TIME-BARRED (ALL
                     COUNTS) ..............................................................................................................48
CONCLUSION ..............................................................................................................................50




                                                                      ii
                                               TABLE OF AUTHORITIES

                                                                                                                               Page(s)

Cases

A.O.A. v. Rennert,
   350 F. Supp. 3d 818 (E.D. Mo. 2018)......................................................................................37

AD/SAT, Div. of Skylight, Inc. v. Associated Press,
   181 F.3d 216 (2d Cir. 1999).....................................................................................................14

AGRED v. U.S. Army,
  3 F.4th 1069 (8th Cir. 2021) ................................................................................................8, 10

Ahern v. Apple Inc.,
   411 F. Supp. 3d 541 (N.D. Cal. 2019) .....................................................................................45

Allied Tube & Conduit Corp. v. Indian Head,
    486 U.S. 492 (1988) .................................................................................................................17

Am. Italian v. Pasta,
   371 F.3d 387 (8th Cir. 2004) ...................................................................................................41

Apex Hosiery Co. v. Leader,
   310 U.S. 469 (1940) .................................................................................................................10

Appliance Recycling Ctrs. v. JACO,
   378 F. App’x 652 (9th Cir. 2010) ............................................................................................41

Ariz. v. Cook,
    391 F. Supp. 962 (D. Ariz. 1975), aff’d, 541 F.2d 226 (9th Cir. 1976) ...................................11

Ashcroft v. Iqbal,
   556 U.S. 662 (2009) ...................................................................................................................8

Ashley Cnty. v. Pfizer,
   552 F.3d 659 (8th Cir. 2009) .......................................................................................34, 35, 39

Associated Gen. Contractors of Calif., Inc. v. Calif. State Council of Carpenters,
   459 U.S. 519 (1983) .................................................................................................................23

Associated Radio Serv. Co. v. Page Airways, Inc.,
   624 F.2d 1342 (5th Cir. 1980) .................................................................................................10

Atchison, Topeka & Santa Fe Ry. v. Armstrong,
   80 P. 978 (Kan. 1905) ..............................................................................................................31
In re Auto. Parts Antitrust Litig.,
    2015 WL 14047405 (E.D. Mich. Apr. 30, 2015)...............................................................29, 30

In re Auto. Parts Antitrust Litig.,
    29 F. Supp. 3d 982 (E.D. Mich. 2014) .....................................................................................27

Baldwin v. City of Overland Park,
   468 P.2d 168, 172 (Kan. 1970) ................................................................................................34

Bell Atl. Corp. v. Twombly,
    550 U.S. 544 (2007) ......................................................................................................... passim

Bell v. Annie’s Inc.,
    2023 WL 3568623 (E.D. Mo. May 18, 2023) ...................................................................41, 46

Black v. Moneygram,
   2016 WL 3683003 (E.D. Mo. July 12, 2016) ..........................................................................26

Black v. Union Pac.,
   2024 U.S. Dist. LEXIS 141907 (Kan. D. Ct. Aug. 8, 2024) ...................................................48

Blessing v. Chandrasekhar,
   988 F.3d 889 (6th Cir. 2021) .....................................................................................................1

Blomkerst v. Potash,
   203 F.3d 1028 (8th Cir. 2000) .................................................................................................13

Bookends & Beginnings LLC v. Amazon.com,
   2022 WL 18144916 (S.D.N.Y. Aug. 24, 2022) .......................................................................16

Bos. v. Aetna,
   399 Mass. 569 (1987) ..............................................................................................................39

Bowen v. City of Kansas City,
   231 Kan. 450 (1982) ................................................................................................................48

Brown Shoe Co. v. U.S.,
   370 U.S. 294 (1962) .................................................................................................................18

Buetow v. A.L.S.,
   564 F. Supp. 2d 1038 (D. Minn. 2008) ....................................................................................13

Bule v. Garda,
   2014 WL 3501546 (S.D. Fla. July 14, 2014) ...........................................................................47

Bumpers v. Cmty. Bank of N. Va.,
   747 S.E.2d 220 (N.C. 2013) ...............................................................................................38, 39




                                                                   iv
Cal. Dental v. FTC,
   526 U.S. 756 (1999) .................................................................................................................10

In re Can. Import Antitrust Litig.,
    470 F.3d 785 (8th Cir. 2006) ...................................................................................................22

Cannuscio v. GEICO,
   2022 WL 22881849 (D. Nev. Dec. 13, 2022) ..........................................................................39

Carefirst of Md., Inc. v. J&J,
   745 F. Supp. 3d 288 (2024) .....................................................................................................24

Cargill, Inc. v. Monfort of Colo., Inc.,
   479 U.S. 104 (1986) .................................................................................................................23

In re Cattle & Beef Antitrust Litig.,
    687 F. Supp. 3d 828 (D. Minn. 2023) ................................................................................23, 26

Cherry v. Bd. of Cty. Comms.,
   202 Kan. 121 (1968) ................................................................................................................35

Chi. Pro. Sports v. NBA,
   95 F.3d 593 (7th Cir. 1996) .....................................................................................................10

Cho v. Hyundai,
   636 F. Supp. 3d 1149 (C.D. Cal. 2022) ...................................................................................47

In re Chocolate,
    801 F.3d 383 (3d. Cir. 2015)....................................................................................................17

City of Chicago v. Beretta U.S.A.,
    821 N.E.2d 1099 (Ill. 2004) .........................................................................................31, 33, 34

Clough v. Hart,
   8 Kan. 487 (1871) ....................................................................................................................29

Collins v. Metro. Life Ins. Co.,
   117 F.4th 1010 (8th Cir. 2024) ................................................................................................36

Collyer v. Catalina,
   712 F. Supp. 3d 1276 (N.D. Cal. 2024) ...................................................................................39

Concord v. Brunswick,
   207 F.3d 1039 (8th Cir. 2000) .................................................................................................18

Copper Sands v. Copper Sands Realty, LLC,
   2013 WL 3270430 (D. Nev. June 26, 2013) ............................................................................38




                                                                    v
Corbett v. City of Kensington,
   530 P.3d 750 (Kan. Ct. App. 2023) .........................................................................................33

Craftsmen v. Limousine, Inc.,
   491 F.3d 380 (8th Cir. 2007) .................................................................................18, 20, 21, 22

In re Crop Inputs Antitrust Litig.,
    2024 WL 4188654 (E.D. Mo. Sept. 13, 2024) ...................................................................12, 16

Curtis v. 7-Eleven, Inc.,
   2022 WL 4182384 (N.D. Ill. Sept. 13, 2022) ....................................................................42, 43

CVB v. Corsicana,
  2024 WL 4505044 (D. Utah Oct. 16, 2024) ............................................................................16

In re Dairy Farmers Antitrust Litig.,
    2015 WL 3988488 (N.D. Ill. June 29, 2015) ...........................................................................24

Davenport v. Charter Commc’ns, LLC,
   35 F. Supp. 3d 1040 (E.D. Mo. 2014)......................................................................................27

Davis v. FEC,
   554 U.S. 724 (2008) ...................................................................................................................7

Doe 9 v. Varsity Brands, LLC,
   2023 WL 4113198 (D.S.C. June 21, 2023)..............................................................................39

Double D Spotting Serv. V. Supervalu, Inc.,
   136 F.3d 554 (8th Cir. 1999) ...................................................................................................18

Drainage Dist. No. 3 v. Riverside Drainage,
   178 P. 433 (Kan. 1919) ............................................................................................................29

In re Ductile Iron Pipe Fittings Indirect Purchaser Antitrust Litig.,
    2013 WL 5503308 (D.N.J. Oct. 2, 2013).................................................................................46

E. Enters v. Apfel,
    524 U.S. 498 (1998) .................................................................................................................33

E. Maine Baptist Church v. Union Planters Bank, N.A.,
   2007 WL 927760 (E.D. Mo. Mar. 26, 2007) ...........................................................................50

E-Z Dock v. Shoremaster,
   2006 WL 1153901 (W.D. Mo. Apr. 25, 2006) ........................................................................18

Edwards v. Camden Operations, LLC,
   2018 WL 3478905 (W.D. Ark. July 19, 2018) ........................................................................45




                                                                    vi
Ellis v. Nike,
    2024 WL 1344805 (E.D. Mo. Mar. 28, 2024) ...................................................................39, 44

Ellison-Robbins v. Bimbo Bakeries,
    2024 WL 4332049 (E.D. Mo. Sept. 27, 2024) .........................................................................39

Embree Const. v. Rafcor, Inc.,
  411 S.E.2d 916 (N.C. 1992) .....................................................................................................47

EnviroPAK Corp. v. Zenfinity Cap., LLC,
   2015 WL 331807 (E.D. Mo. Jan. 23, 2015) ............................................................................21

Fejzulai v. Sam’s W.,
   205 F. Supp. 3d 723 (D.S.C. 2016) ..........................................................................................39

In re Firearm,
    126 Cal. App. 4th 959 (2005) ..................................................................................................31

Five Smiths, Inc. v. Nat’l Football League,
   788 F. Supp. 1042 (D. Minn. 1992) ...................................................................................13, 18

Flegel v. Christian Hosp.,
   4 F.3d 682 (8th Cir. 1993) .......................................................................................................20

In re Foods, Inc. Sec. Litig.,
    275 F. Supp. 3d 970 (W.D. Ark. 2017)....................................................................................16

State ex rel. Ford Motor Co. v. Bacon,
    63 S.W.3d 641 (Mo. 2002) ......................................................................................................37

Foreman v. Haliron,
   2021 WL 5139519 (W.D. Ark. Nov. 3, 2021) .........................................................................46

GDHI Mktg. v. Antsel,
  416 F. Supp. 3d 1189 (D. Colo. 2019) ...............................................................................11, 23

In re Gen. Motors Corp. Litig.,
    966 F. Supp. 1525 (E.D. Mo. 1997).........................................................................................38

Ginsburg v. InBev,
   623 F.3d 1229 (8th Cir. 2010) .................................................................................................25

Golden Gate Pharm. Servs., Inc. v. Pfizer, Inc.,
   433 F. App’x 598 (9th Cir. 2011) ............................................................................................18

Goldfinch v. Iowa Pathology,
   2024 WL 5205936 (S.D. Iowa Dec. 13, 2024) ........................................................................22




                                                                 vii
Gonzalez v. Am. Honda,
   720 F. Supp. 3d 833 (C.D. Cal. 2024) .....................................................................................39

Greenley v. Kochava,
   684 F. Supp. 3d 1024 (S.D. Cal. 2023) ....................................................................................46

Guay v. Sig,
   626 F. Supp. 3d 536 (D.N.H. 2022) .........................................................................................39

Guerrero v. Henkel,
   2024 WL 2769745 (E.D. Mo. 2024) ........................................................................................44

Hammack v. Harbor Freight,
  2022 WL 14225017 (W.D. Mo. Oct. 24, 2022) .......................................................................47

Hammerling v. Google LLC,
  615 F. Supp. 3d 1069 (N.D. Cal. 2022) ...................................................................................45

In re Hard Disk Drive Suspension Assemblies Antitrust Litig.,
    2020 WL 6270948 (N.D. Cal. Oct. 23, 2020)............................................................................9

Harrison v. Aerostar,
   316 F. Supp. 2d 186 (E.D. Pa. 2004) .......................................................................................23

Healy v. Beer Inst.,
   491 U.S. 324 (1989) .................................................................................................................47

Hennessey v. Gap,
   86 F.4th 823 (8th Cir. 2023) ....................................................................................................36

Hip Hop Beverage Corp. v. Monster Energy Co.,
   2016 WL 7479402 (C.D. Cal. July 7, 2016) ............................................................................22

Hobart-Mayfield v. Nat’l Op. Comm. on Standards for Athletic Equip.,
   48 F.4th 656 (6th Cir. 2022) ..............................................................................................12, 26

Hofstetter v. Myers,
   228 P.2d 522 (Kan. 1951) ........................................................................................................34

HOK Sport v. FC Des Moines,
  495 F.3d 927 (8th Cir. 2007) ...................................................................................................37

Howard v. Mo. Bone,
  615 F.3d 991 (8th Cir. 2010) .....................................................................................................8

Huffman v. Credit Union,
   2013 WL 1121268 (W.D. Mo. Mar. 18, 2013) ........................................................................50




                                                                  viii
Hunter v. J&J,
   499 P.3d 719 (Okla. 2021) ...........................................................................................30, 32, 35

Hunter v. Page Cnty., Iowa,
   102 F.4th 853 (8th Cir. 2024) ..................................................................................................24

Ill. Brick v. Ill.,
     431 U.S. 720 (1977) .................................................................................................................26

Illig v. Union,
     652 F.3d 971 (8th Cir. 2011) ...................................................................................................48

Impro Prods. v. Herrick,
   1982 WL 1883 (S.D. Iowa Aug. 13, 1982), aff’d, 715 F.2d 1267 (8th Cir.
   1983) ........................................................................................................................................13

Indep. Cnty. v. Pfizer,
   534 F. Supp. 2d 882 (E.D. Ark. 2008), aff’d Ashley Cnty., 552 F.3d 659 ...............................39

Insulate SB v. Adv. Finishing,
    797 F.3d 538 (8th Cir. 2015) .............................................................................................12, 26

Insulate SB. v. Advanced Finishing Sys.,
    2014 WL 943224 (D. Minn. Mar. 11, 2024) ...........................................................................26

James v. PepsiCo,
   222 N.Y.S.3d 907 (N.Y. Sup. Ct. 2024) ................................................................30, 31, 32, 35

U.S. ex rel. Joshi v. St. Luke’s Hosp.,
   441 F.3d 552, 556 (8th Cir. 2006) ...........................................................................................36

In re Keurig Green Mountain Antitrust Litig.,
    383 F. Supp. 3d 187 (S.D.N.Y. 2019)......................................................................................25

Korte v. State on Rel. of Bd. of Regents of Nev.,
   492 P.3d 540 (Nev. 2021) ........................................................................................................47

Kwikset v. Sup. Ct.,
   246 P.3d 877 (Cal. 2011) .........................................................................................................38

Laccinole v. Gulf,
   2023 WL 157719 (D.R.I. Jan. 11, 2023) .................................................................................39

In re Lead Paint Litig.,
    924 A.2d 484 (N.J. 2007).........................................................................................................30

In re Lipitor Antitrust Litig.,
    336 F. Supp. 3d 395 (D.N.J. 2018) ..........................................................................................27



                                                                        ix
In re Lithium Ion Batteries Antitrust Litig.,
    2014 WL 4955377 (N.D. Cal. Oct. 2, 2014)............................................................................29

Lizama v. H&M LP,
    2023 WL 3433957 (E.D. Mo. May 12, 2023) ...................................................................43, 44

LLM Bar v. Barbri,
  271 F. Supp. 3d 547 (S.D.N.Y. 2017)......................................................................................14

In re Loestrin 24 FE Antitrust Litig.,
    410 F. Supp. 3d 352 (D.R.I. 2019).....................................................................................27, 39

Lofts v. Strategies Floor,
    224 A.3d 116 (Vt. 2019) ..........................................................................................................39

Lombardo v. J&J,
   124 F. Supp. 3d 1283 (S.D. Fla. 2015) ....................................................................................38

Lorix v. Crompton Corp.,
   736 N.W.2d 619 (Minn. 2007).................................................................................................24

Lujan v. Defenders of Wildlife,
   504 U.S. 555 (1992) ...............................................................................................................7, 9

Mahaska v. Pepsico,
  271 F. Supp. 3d 1054 (S.D. Iowa 2017) ..................................................................................20

Mangiardi v. Dewey,
  2013 WL 1856338 (D.N.H. Apr. 30, 2013) .............................................................................47

Marshall v. Miller,
  276 S.E.2d 397 (N.C. 1981) .....................................................................................................42

Master’s Transp. v. Rev Grp., Inc.,
  2020 WL 13580661 (W.D. Mo. Nov. 12, 2020)......................................................................37

May v. Makita,
  2023 WL 417487 (E.D. Mo. Jan. 26, 2023) ............................................................................47

Mayor of Balt. v. BP,
  2024 WL 3678699 (Md. Cir. Ct. July 10, 2024)................................................................34, 35

McDonald v. J&J,
  722 F.2d 1370 (8th Cir. 1983) ...........................................................................................22, 23

Melton v. Carolina Power & Light,
   2012 WL 2401635 (D.S.C. June 25, 2012)..............................................................................47




                                                                    x
Midwest Commc’ns v. Minn. Twins, Inc.,
   779 F.2d 444 (8th Cir. 1985) ...................................................................................................22

In re Milk Prods. Antitrust Litig.,
    84 F. Supp. 2d 1016 (D. Minn. 1997), aff’d, 195 F.3d 430 (8th Cir. 1999) ............................50

Miller v. Redwood Toxicology Lab’y, Inc.,
   688 F.3d 928 (8th Cir. 2012) ...................................................................................................38

Milman v. FCA,
   2019 WL 3334612 (C.D. Cal. Apr. 15, 2019) .........................................................................46

Mis. for Fiscal Acct. v. Klahr,
   830 F.3d 789 (8th Cir. 2016) .....................................................................................................5

Monsanto v. Swann,
  2001 WL 34079489 (E.D. Mo. Sept. 19, 2001).......................................................................19

Mont. v. Trinity,
  473 P.3d 1009 (Mont. 2020) ....................................................................................................47

Moore v. Mack’s,
  2017 WL 4350980 (E.D. Ark. Sept. 29, 2017) ........................................................................39

In re Mun.,
    429 F. Supp. 3d 647 (D. Minn. 2019) ......................................................................................41

In re Musical Instruments Antitrust Litig.,
    798 F.3d 1186 (9th Cir. 2015) ...........................................................................................16, 21

N. Co. Med. Ctr., Inc. v. Comm. on Anticompetitive Conduct,
    914 P.2d 902 (Colo. 1996) .......................................................................................................24

N.Y. v. Exxon Mobil Corp.,
   2025 WL 209843 (N.Y. Sup. Ct. Jan. 14, 2025)......................................................................44

New Prime, Inc. v. Eaton Corp.,
   2017 WL 5992466 (W.D. Mo. Mar. 16, 2017) (Bough, J.) .....................................................49

In re Niaspan Antitrust Litig.,
    42 F. Supp. 3d 735 (E.D. Pa. 2014) .........................................................................................39

Niemann v. Carlsen,
   2023 WL 4198227 (E.D. Mo. June 27, 2023) .........................................................................23

Nivia v. Nationstar,
   2014 WL 4146889 (S.D. Fla. Aug. 21, 2014)..........................................................................44




                                                                  xi
Oakland v. BP,
   325 F. Supp. 3d 1017 (N.D. Cal. 2018) ...................................................................................30

Ohio v. Am. Express,
   585 U.S. 529 (2018) .................................................................................................................20

Olin v. Dakota Access, LLC,
   910 F.3d 1072 (8th Cir. 2018) .................................................................................................36

OneSky v. Sullivan,
   2012 WL 124739 (D.N.H. Jan. 17, 2012) ................................................................................46

In re Opana ER Antritrust Litig.,
    162 F. Supp. 3d 704 (N.D. Ill. 2016) .......................................................................................27

Owner–Operator Indep. Drivers Ass’n, Inc. v. New Prime, Inc.,
  339 F.3d 1001 (8th Cir. 2003) .................................................................................................27

In re Packaged Seafood Prod. Antitrust Litig.,
    242 F. Supp. 3d 1033 (S.D. Cal. 2017) ....................................................................................46

Park v. Express,
   911 F.3d 505 (8th Cir. 2018) .......................................................................................13, 14, 15

In re Passenger Vehicle Replacement Tires Antitrust Litig.,
    2025 WL 606533 (N.D. Ohio Feb. 25, 2025) ..........................................................................16

Patenaude v. Orgain, LLC,
   594 F. Supp. 3d 108 (D. Mass. 2022) ......................................................................................39

People v. Sturm,
   761 N.Y.S. 2d 192 (App. Div. 2003) .................................................................................32, 34

Philadelphia v. Beretta,
   126 F. Supp. 2d 882 (E.D. Pa. 2000) .......................................................................................35

Piescik v. CVS,
   576 F. Supp. 3d 1125 (S.D. Fla. 2021) ....................................................................................39

Pilot v. Hofarth,
    550 N.W.2d 27 (Neb. 1996).....................................................................................................47

In re Pork,
    2019 WL 3752497 (D. Minn. Aug. 8, 2019) ...........................................................................13

In re Pork,
    495 F. Supp. 753 (D. Minn. 2020) ...........................................................................................50




                                                                   xii
In re Pre-Filled Propane Tank Antitrust Litig.,
    2016 WL 6963059 (W.D. Mo. Jan. 13, 2016) ...................................................................26, 38

Process Controls v. Emerson,
   2011 WL 403121 (E.D. Mo. Feb. 1, 2011) ..............................................................................19

Razorback Ready Mix Concrete Co. v. Weaver,
   761 F.2d 484 (8th Cir. 1985) ...................................................................................................17

Riddell v. GM LLC,
   2024 WL 2077559 (E.D. Mo. May 9, 2024) ...........................................................................44

Ridder v. Hibsch,
   94 S.W.3d 470 (Mo. Ct. App. 2003) ........................................................................................49

Ripplinger v. Amoco Oil Co.,
   916 F.2d 441 (8th Cir. 1990) ...................................................................................................49

Robert E. Ricciardelli v. Home Depot,
   679 F. Supp. 2d 192 (D. Mass. 2010) ......................................................................................46

Rochester v. Monsanto,
   883 F. Supp. 2d 835 (E.D. Mo. 2012)......................................................................................44

Rodi v. S. New Emg. Sch. of L.,
   532 F.3d 11 (1st Cir. 2008) ......................................................................................................38

Sanderson v. Culligan Int’l,
   415 F.3d 620 (7th Cir. 2005) ...................................................................................................11

In re Santa Fe Nat. Tobacco Co. Liab. Litig.,
    288 F. Supp. 3d 1087 (D.N.M. 2017) ......................................................................................47

Santagate v. Tower,
   833 N.E.2d 171 (Mass. App. Ct. 2005) ...................................................................................47

Santana v. Bobrick,
   401 F.3d 123 (3d Cir. 2005).....................................................................................................11

Saucier v. Countrywide,
   64 A.3d 428 (D.C. 2013) .........................................................................................................39

Serfecz v. Jewel,
    67 F. 3d 591 (7th Cir. 1995) ....................................................................................................16

Southland v. INSpire Ins.,
   365 F.3d 353 (5th Cir. 2004) ...................................................................................................37




                                                                 xiii
State of S.D. v. Kan. City S. Indus.,
    880 F.2d 40 (8th Cir. 1989) .....................................................................................................24

Stifel v. Dain,
    578 F.2d 1256 (8th Cir. 1978) .................................................................................................18

Streambend v. Ivy Tower,
    781 F.3d 1003 (8th Cir. 2015) ...................................................................................................8

SUEZ v. E.I. du Pont,
  578 F. Supp. 3d 511 (S.D.N.Y. 2022)......................................................................................31

Summerhill v. Terminix,
   637 F.3d 877 (8th Cir. 2011) .............................................................................................49, 50

Sup. Auto Transp., LLC v. Arcelor Mittal,
   238 F. Supp. 3d 1032 (N.D. Ill. 2017) .....................................................................................24

Sup. Auto Transp., LLC v. Arcelor Mittal USA,
   902 F.3d 735 (7th Cir. 2018) .............................................................................................24, 25

Swartz v. Coca-Cola,
   2023 WL 4828680 (N.D. Cal. July 27, 2023) ......................................................................9, 42

Swartz v. Coca-Cola Co.,
   2022 WL 17881771 (N.D. Cal. Nov. 18, 2022) ......................................................................43

Taylor v. Airco,
   503 F. Supp. 2d 432 (D. Mass. 2007), aff’d sub nom., 576 F.3d 16 (1st Cir.
   2009) ........................................................................................................................................37

Tepper v. Talent,
   561 F. Supp. 3d 846 (D. Neb. 2021) ........................................................................................39

Thomas v. FAG,
   50 F.3d 502 (8th Cir. 1995) .....................................................................................................30

Thompson v. Genesco, Inc.,
   2024 WL 81187 (E.D. Mo. Jan. 8, 2024) ..................................................................................9

Thornton v. Kroger,
   2022 WL 488932 (D.N.M. Feb. 17, 2022) ..............................................................................39

Tioga Pub. Sch. Dist. No. 15 v. U.S. Gypsum Co.,
   984 F.2d 915 (8th Cir. 1993) ...................................................................................................33

TransUnion LLC v. Ramirez,
   594 U.S. 413 (2021) ...................................................................................................................7



                                                                       xiv
Tucker v. Gen. Motors,
   58 F.4th 392 (8th Cir. 2023) ....................................................................................................46

Watkins v. MGA Ent., Inc.,
   550 F. Supp. 3d 815 (N.D. Cal. 2021) .....................................................................................45

White v. Volkswagen Grp. of Am., Inc.,
   2013 WL 685298 (W.D. Ark. Feb. 25, 2013) ..........................................................................45

Wiles v. Sw. Bell Tel.,
   2010 WL 1463025 (W.D. Mo. Apr. 13, 2010) ........................................................................47

Williams v. Amoco Prod. Co.,
   734 P.2d 1113 (Kan. 1987) ......................................................................................................35

Winter v. Novartis Pharms.,
   739 F.3d 405 (8th Cir. 2014) ...................................................................................................28

Young v. Era,
   513 P.3d 505 (Mont. 2022) ......................................................................................................39

Zanani v. Savad,
   217 A.D.2d 696 (2d Dep’t 1995) .............................................................................................44

Statutes

15 U.S.C. § 15(b) ...........................................................................................................................48

42 U.S.C. § 9627(b) .......................................................................................................................42

42 U.S.C. § 13101(b) .......................................................................................................................6

Ariz. Rev. Stat. § 44-1410 .............................................................................................................48

Ariz. Rev. Stat. § 44-1415(A) ........................................................................................................27

Ark. Code Ann. § 4-88-101(3).......................................................................................................40

Ark. Code Ann. § 4-88-108 ...........................................................................................................39

Ark. Code § 4-88-113(f)(1)(B) ......................................................................................................38

Ark. Code § 4-88-113(f)(2)............................................................................................................38

Ark. Code § 4-88-115 ....................................................................................................................48

Ark. Code § 8-9-302 ......................................................................................................................42

16 CFR § 260.12(a)........................................................................................................................43



                                                                     xv
16 CFR § 260.12(b)(1)...................................................................................................................42

Cal. Bus. & Prof. Code § 16750.1 .................................................................................................48

Cal. Bus. & Prof. Code § 17208 ....................................................................................................48

Cal. Bus. & Prof. Code § 17580.5 .................................................................................................42

Colo. Rev. Stat. Ann. § 6-4-115.....................................................................................................24

Colo. Rev. Stat. Ann. § 6-4-116.....................................................................................................27

Colo. Rev. Stat. Ann. § 6-4-119.....................................................................................................48

Colo. Rev. Stat. § 6-4-114(1) (enacted in 2023) ............................................................................27

Conn. Gen. Stat. Ann. § 35-37 .......................................................................................................27

Conn. Gen. Stat. § 35-40................................................................................................................48

Conn. Gen. Stat. § 35-46a (2017) ..................................................................................................27

D.C. Code § 12–301.......................................................................................................................48

D.C. Code § 28-3901(d).................................................................................................................42

D.C. Code § 28-4511 .....................................................................................................................48

Fla. Stat. § 95.11(3)........................................................................................................................48

Fla. Stat. § 501.204(2)....................................................................................................................42

Fla. Stat. § 501.212(1)..............................................................................................................40, 42

Haw. Rev. Stat. Ann. § 480-24 ......................................................................................................48

Haw. Rev. Stat. § 480-13.3 ............................................................................................................27

Ill. Comp. Stat. 10/6 .......................................................................................................................48

Ill. Comp. Stat. § 10/7(2) ...............................................................................................................27

Iowa Code § 553.16 .......................................................................................................................48

K.S.A. 60-513 ................................................................................................................................48

Kan. Stat. § 60-512 ........................................................................................................................48

Kan. Stat. § 60-908 ..................................................................................................................28, 29



                                                                     xvi
Kan. Stat. § 65-3401(e) ..................................................................................................................31

Kan. Stat. § 65-3425 ..................................................................................................................5, 32

Mass. Gen. Laws 260, § 5A ...........................................................................................................48

Mass. Gen. Laws Ann. ch. 93A, § 3 ........................................................................................40, 42

Mass. Gen. Laws ch. 93A, § 2 .......................................................................................................42

Md. Code Ann., Com. Law § 11-209 ......................................................................................27, 48

Me. Rev. Stat. Ann. Tit. 14 § 752 ..................................................................................................48

Mich. Comp. Laws § 445.781........................................................................................................48

Minn. Stat. Ann. § 325D.63 ...........................................................................................................27

Minn. Stat. Ann. § 325D.64 ...........................................................................................................48

Miss. Code § 15-1-49.....................................................................................................................48

Mo. Code Regs. tit. § 15 CSR 60-8.020(1)(A) ..............................................................................42

Mo. Rev. Stat. § 56.060 .................................................................................................................29

Mo. Rev. Stat. § 260.281 .................................................................................................................5

Mo. Rev. Stat. § 407.020 ...............................................................................................................39

Mo. Rev. Stat. § 407.025 .........................................................................................................41, 46

Mo. Stat. § 516.120 ........................................................................................................................48

Mont. Code § 27–2–211 ................................................................................................................48

Mont. Code § 27–2–2116 ..............................................................................................................42

Mont. Code § 30-14-133(1) ...........................................................................................................38

N.C. Gen. Stat. § 75-16.2 ...............................................................................................................48

N.D. Cent. Code § 51-08.1-10 .......................................................................................................48

N.H. Rev. Stat. § 356:11 (2008) ....................................................................................................27

N.H. Rev. Stat. § 356:12 ................................................................................................................48

N.H. Rev. Stat. § 358-A:13 ............................................................................................................42



                                                                    xvii
N.H. Rev. Stat. § 508:4 ..................................................................................................................48

N.M. Stat. Ann. § 57-12-7 .......................................................................................................40, 42

N.M. Stat. § 37-1-4 ........................................................................................................................48

N.M. Stat. § 57-1-12 ......................................................................................................................48

N.M. Stat. § 57-12-4 ......................................................................................................................42

N.Y. County Law § 501 .................................................................................................................29

N.Y. Gen. Bus. Law § 340 .......................................................................................................27, 48

Neb. Rev. Stat. § 59-821 (2002) ....................................................................................................27

Neb. Rev. Stat. § 59-829 ................................................................................................................48

Neb. Rev. Stat. § 59-1612 ..............................................................................................................48

Nev. Rev. Stat. Ann. § 598A.210 ..................................................................................................27

Nev. Rev. Stat. § 11.190(2)(d) .......................................................................................................48

Nev. Rev. Stat. § 598A.220 ...........................................................................................................48

Or. Rev. Stat. § 646.780.................................................................................................................27

Or. Rev. Stat. § 646.800.................................................................................................................48

R.I Gen. Laws § 6-13.1-4(a) ....................................................................................................40, 42

R.I. Gen. Laws § 6-13.3-1..............................................................................................................42

R.I. Gen. Laws § 6-36-21...............................................................................................................27

R.I. Gen. Laws § 9-1-13.................................................................................................................48

S.C. Code Ann, § 39-5-40(a) ...................................................................................................40, 42

S.C. Code § 39-5-20(b) ..................................................................................................................42

S.C. Code § 39-5-140.....................................................................................................................38

S.C. Code § 39-5-150.....................................................................................................................48

S.D. Codified Laws § 37-1-14.4 ....................................................................................................48

Tenn. Code § 47-25-104 ................................................................................................................48



                                                                   xviii
Tenn. Code § 47-25-106(c) ............................................................................................................27

Utah Code § 76-10-3109 (2006) ....................................................................................................27

Utah Code § 76-10-3117................................................................................................................48

Vt. Stat. tit. 9, § 2453(b) ................................................................................................................42

Vt. Stat. tit. 12, § 511 .....................................................................................................................48

W. Va. Code §47-18-11 .................................................................................................................48

Wis. Stat. § 133.18 .........................................................................................................................48

Rules

Rule 9(b) ....................................................................................................................3, 8, 36, 45, 49

Rule 12(b)(1)..........................................................................................................................1, 8, 50

Periodicals

Chicago Tribune ......................................................................................................................33, 41

Other Authorities

2021-2025 State Solid Waste Management Plan, Kansas Department of Health
   and Environment,
   https://www.kdhe.ks.gov/DocumentCenter/View/22543/State-Solid-Waste-
   Management-Plan-2021-2025-PDF (last visited Mar. 8, 2025) ................................................5

Areeda & Hovenkamp, Antitrust Law ¶ 1503b1............................................................................10

Ford County Commissioners’ Meeting Minutes (Oct. 21, 2024),
   https://www.fordcounty.net/AgendaCenter/ViewFile/Minutes/_10212024-517 ....................29

Kansas City, Curbside Recycling, https://www.kcmo.gov/city-hall/trash/recycling
   (last visited Mar. 8, 2025) ..........................................................................................................5

Kansas Organization of Recyclers, https://www.kskor.org/Recycling (last visited
   Mar. 8, 2025)..............................................................................................................................5

Missouri Department of Natural Resources, Directory,
   https://recyclesearch.com/profile/mo-directory/materials (last visited Mar. 8,
   2025) ..........................................................................................................................................5

Missouri State Recycling Program, Office of Administration, Division of General
   Services, https://genserv.oa.mo.gov/missouri-state-recycling-program (last
   visited Mar. 8, 2025) ..................................................................................................................5



                                                                       xix
How to Sort Your Recyclables, City of Dodge City, Kansas,
  https://www.dodgecity.org/157/How-to-Sort-your-Recyclables (last visited
  Mar. 8, 2025)............................................................................................................................31

Recycling – CREW, City of Dodge City, Kansas,
   https://www.dodgecity.org/113/Recycling---CREW (last visited Mar. 8, 2025) ......................5

Recycling, Missouri Dept of Natural Resources, https://dnr.mo.gov/waste-
   recycling/reduce-reuse-recycle (last visited Mar. 8, 2025) ........................................................5

Recycling Pledge Form, City of Dodge City, Kansas,
   www.dodgecity.org/DocumentCenter/View/302/Recycling-Pledge (last
   visited Mar. 8, 2025) ..................................................................................................................6

RESTATEMENT (SECOND) OF TORTS § 821B ...................................................................................33

Solid Waste Management District Funding Allocations; Waste Reduction, Public
    Education & Grants, Kansas Department of Health and Environment,
    https://www.kdhe.ks.gov/700/Waste-Reduction-Public-Education-Grants (last
    visited Mar. 8, 2025) ..................................................................................................................5

Constitutional Provisions

U.S. CONST. amend. I ...............................................................................................................32, 40

U.S. CONST. amend. XI ..................................................................................................................30




                                                                    xx
                                 PRELIMINARY STATEMENT

       Plaintiffs seek to impose liability on ten Defendants based on an innocuous and socially

beneficial activity: the promotion of recycling. 1 Framed as a three-prong challenge under antitrust

law, public nuisance, and consumer fraud law, the gist of the Amended Complaint (“AC”) (Dkt.

No. 48) is that Defendants allegedly entered into a conspiracy to promote plastic recycling in an

effort to increase the demand and price for plastic. Each prong of Plaintiffs’ theory fails as a matter

of law. The law does not prohibit Defendants from making statements that the federal government

and government entities in Missouri and Kansas have been making for decades and which,

according to Plaintiffs, led to increased output with no agreement to refrain from price competition.

       These claims make no sense and fail from the start. Indeed, none of the Defendants sold

any of the plastic products that Plaintiffs allege they bought; and, some Defendants did not even

make the plastic resins used to make end-use plastic products at all. Not surprisingly, Plaintiffs do

not allege that they ever saw—let alone relied on—any of the alleged misstatements. Nor do

Plaintiffs even attempt to explain how a handful of alleged decades-old statements by Defendants

about recycling, as opposed to the many governmental regulations requiring recycling labeling or

millions of non-party statements promoting recycling, caused the price of plastic products to

increase. All of Plaintiffs’ claims should be dismissed for several reasons.

       First, Plaintiffs lack Article III standing because they do not allege concrete, materialized

injury, and their allegations lack a plausible causal connection to their purported harm.

       Second, Plaintiffs’ antitrust claims fail because they do not allege any restraint of trade.

While Section 1 of the Sherman Act prohibits agreements in restraint of trade, the AC is devoid of


1
  Defendants do not submit to the personal jurisdiction or venue of this Court. Rather, Defendants
filed their Motion to Dismiss Plaintiffs’ First Amended Class Action Complaint Pursuant to Rule
12(b)(2) as their “first responsive pleading,” thereby preserving that defense. See, e.g., Blessing v.
Chandrasekhar, 988 F.3d 889, 899 (6th Cir. 2021).
any allegations that Defendants agreed to, or actually did, restrict output, fix prices, or partake in

any conduct that would diminish competition for the sale of plastics. Instead, Plaintiffs allege that

output increased—as they must to support their public nuisance claim—which is a procompetitive

effect and thus benefits consumers. Without a restraint pled, there can be no Sherman Act violation.

       Plaintiffs also fail to plausibly allege any agreement between Defendants, let alone one that

unreasonably restrains trade. There is not one well-pleaded allegation to support what Defendants

purportedly agreed to do. Plaintiffs provide no details on what the alleged agreement was, when

this agreement was supposedly made, who made it, or any other specifics. There can be no

conspiracy claim without a well-pleaded agreement. The purported effect of the alleged conspiracy

is also entirely implausible. According to the threadbare allegations, Defendants’ conspiracy to

promote recycling purportedly led to increased demand for plastics, which Plaintiffs claim

increased the prices for plastic products. But Plaintiffs allege no facts plausibly demonstrating that

any rise in demand was linked to the alleged conspiracy, or how such an increase in demand would

diminish competition. Plaintiffs also fail to demonstrate how a few decades-old statements by resin

manufacturers dictated today’s prices for resins used to make any plastic product.

       Plaintiffs’ market definition similarly makes no sense. A market including all plastic

products for end use is not viable because it is not tethered to the interchangeability of products

within the alleged market. Plaintiffs make no attempt to allege that all end-use plastic products are

interchangeable, nor could they, as a plastic bottle is not interchangeable with a plastic truck. Nor

do they attempt to allege that products intended for precisely the same use as a plastic product

cannot be interchangeable simply because they are made of a different material, such as a glass

bottle or paper packaging. No court has ever recognized such a market. Moreover, by Plaintiffs’

own admission, most, if not all, of Defendants’ conduct occurred in the context of lobbying and is




                                                  2
immunized from antitrust scrutiny under the Noerr-Pennington doctrine. Further, Plaintiffs lack

antitrust standing. Plaintiffs have not adequately alleged antitrust injury, a necessary prerequisite

to antitrust standing, because they have not plausibly alleged Defendants’ challenged conduct

caused competitive harm in the market for “plastic products for end use consumption” or that

Plaintiffs’ injury flowed from any such harm. Plaintiffs are also not “proper parties” because their

injuries are remote and lack a causal connection to Defendants’ alleged conduct.

       Third, Plaintiff Ford County’s public nuisance claim fails because Ford County is not

authorized to bring the claim, which is why the Attorney General of Kansas has intervened to

oppose it. The claim also fails for lack of standing, and because Defendants’ conduct is lawful and

protected, not sufficiently frequent or continuous to be a nuisance, and not the proximate cause of

Ford County’s purported harm. Further, the AC fails to allege how promoting recycling could lead

to more garbage, rather than more recycling and less garbage. Moreover, blaming Defendants for

promoting and selling a legal product—recyclable resin—that is used by third parties for their own

intended purposes cannot support a public nuisance claim under well-established law.

       Fourth, Plaintiffs’ consumer fraud claims fail because they do not plead them with the

required Rule 9(b) particularity, identify any actionable deception by any Defendant, or plausibly

connect any such deception to the increased plastics prices they allegedly paid. Entirely missing

from the AC is any information on Plaintiffs’ own plastics purchases—it does not allege that any

Plaintiff saw, let alone relied on, any of Defendants’ decades-old statements; nor does it allege that

Plaintiffs actually purchased products made of unrecyclable plastic material. Plaintiffs’ claims also

fail for lack of standing and on additional, state-specific grounds.

       Fifth, Plaintiffs’ unjust enrichment claim fails because Plaintiffs purport to bring this claim

on behalf of a multi-state class without specifying the applicable law, and Missouri law cannot be




                                                  3
applied extraterritorially. Regardless of what law applies, it is not pled with specificity, it is

precluded by adequate legal remedies, and there was no benefit conferred by Plaintiffs or received

by Defendants. Additionally, some states prohibit recovery by indirect purchasers or do not

recognize unjust enrichment as an independent cause of action at all.

       Sixth, Plaintiffs’ claims are all time-barred and cannot be saved by tolling.

       Some complaints—like this one—are so disconnected from law and logic that they must

be dismissed. As the Supreme Court noted, “the costs of modern federal antitrust litigation and the

increasing caseload of the federal courts counsel against sending the parties into discovery when

there is no reasonable likelihood that the plaintiffs can construct a claim from the events related in

the complaint.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 558 (2007). This is precisely such a

case. Notwithstanding the sprawl of allegations, there is no valid legal theory here and thus the

Court should dismiss the AC in its entirety with prejudice.

                                  FACTUAL BACKGROUND

       Exxon Mobil Corporation, Chevron Phillips Chemical Company LP, Chevron U.S.A. Inc.,

DuPont de Nemours, Inc., Celanese Corporation, Dow Inc., The Dow Chemical Company,

Eastman Chemical Company, and LyondellBasell Industries, N.V. (the “Corporate Defendants”)

do not manufacture consumer plastic products. Instead, certain of the Corporate Defendants sell

plastic resin pellets—i.e., small plastic granules, the size of a few millimeters—to other non-party

companies that melt down and transform the pellets into finished products that are sold to

consumers. 2 The Corporate Defendants do not sell plastic resin pellets to consumers, nor do they

have any control over how other companies use the pellets or what recyclability claims those

companies may make.


2
 Although the AC suggests that Chevron U.S.A. Inc., DuPont de Nemours, Inc., and Celanese
Corporation are manufacturers of the plastic resin at issue in this case, that is incorrect.


                                                  4
       For decades, trade associations and government entities across the country—including the

States of Missouri and Kansas, and the federal government—have actively promoted and

mandated recycling. 3 Missouri and Kansas have allocated millions of dollars to support the

recycling facilities located in their states. 4 Missouri and Kansas also require manufacturers selling

products in their states to utilize the Resin Identification Code (“RIC”) system and “chasing

arrows” logo to assist consumers in recycling plastic products. Mo. Rev. Stat. § 260.281; Kan.

Stat. § 65-3425. Indeed, Missouri and Kansas prominently display the “chasing arrows” logo on

their state-administered recycling websites and non-profit affiliate websites. 5 Further, Kansas City

(where Plaintiff Billie Rodriguez resides) offers curbside recycling for “bottles and tubs displaying

a #1, #2, #4 or #5 resin code,” 6 and Missouri’s Department of Natural Resources website identifies

locations across the state for recycling of more than twenty-four different types of plastics.7

Similarly, Dodge City, Kansas—Ford County’s largest city and county seat—has a website that

guides the public on properly sorting recyclables, including plastic. 8 Dodge City urges its citizens



3
  See Recycling, Missouri Dept. of Natural Resources, https://dnr.mo.gov/waste-recycling/reduce-
reuse-recycle (last visited Mar. 8, 2025). The Court may take judicial notice of information on
government websites cited in this Motion as their contents are “not subject to reasonable dispute.”
Mis. for Fiscal Acct. v. Klahr, 830 F.3d 789, 793 (8th Cir. 2016); infra fn. 4–9, 32, 34, 36, 39, 47.
4
  See Solid Waste Management District Funding Allocations; Waste Reduction, Public Education
& Grants, Kansas Department of Health and Environment, https://www.kdhe.ks.gov/700/Waste-
Reduction-Public-Education-Grants (last visited Mar. 8, 2025); 2021-2025 State Solid Waste
Management        Plan,       Kansas      Department     of     Health        and      Environment,
https://www.kdhe.ks.gov/DocumentCenter/View/22543/State-Solid-Waste-Management-Plan-
2021-2025-PDF (last visited Mar. 8, 2025).
5
  See Missouri State Recycling Program, Office of Administration, Division of General Services,
https://genserv.oa.mo.gov/missouri-state-recycling-program (last visited Mar. 8, 2025); Kansas
Organization of Recyclers, https://www.kskor.org/Recycling (last visited Mar. 8, 2025).
6
   See Kansas City, Curbside Recycling, https://www.kcmo.gov/city-hall/trash/recycling (last
visited Mar. 8, 2025).
7
  See Missouri Department of Natural Resources, Directory, https://recyclesearch.com/profile/mo-
directory/materials (last visited Mar. 8, 2025).
8
  See Recycling – CREW, City of Dodge City, Kansas, https://www.dodgecity.org/113/Recycling-
--CREW (last visited Mar. 8, 2025).


                                                  5
to take a “recycling pledge,” in which they promise to: (1) “lead by example” by recycling; (2)

“email . . . elected officials to ask them to increase” recycling funding; and (3) tell others “that

recycling is the easiest thing they can do to slow global warming.” 9 And that is against a backdrop

where Congress has “declare[d] it to be the national policy of the U.S. that pollution should be

prevented or reduced at the source whenever feasible; pollution that cannot be prevented should

be recycled in an environmentally safe manner whenever feasible.” 42 U.S.C. § 13101(b).

       Plaintiffs bring this lawsuit against the Corporate Defendants and a trade association,

American Chemistry Council (“ACC,” 10 collectively, “Defendants”). See AC ¶¶ 24–33. Plaintiffs

do not allege the Corporate Defendants have any connection with each other, but rather that they

are among the hundreds of members of the ACC, or other various trade associations. Id. ¶ 33.

       Plaintiffs assert that as a result of Defendants’ alleged conspiracy, they purchased plastic

products at higher prices. Id. ¶¶ 3, 173. Defendants allegedly perpetrated this conspiracy by making

deceptive public statements about recycling. The AC identifies less than a dozen such statements,

allegedly made by certain Defendants and various trade associations, almost all of which were

made in the 1980s or 1990s. AC ¶¶ 93–94, 104, 112–13, 115, 150–52. The challenged statements

fall into three categories: (1) statements about recycling initiatives that do not comment on the

recyclability of any products (“Recycling Initiative Statements”), id. ¶¶ 93, 94, 112–13, 115; (2)

statements that reference the recyclability of product types, but say nothing about whether those

product types will in fact be recycled (“Recyclability Statements”), id. ¶¶ 112, 115, 150–52; and

(3) a statement about a forward-looking environmental goal to achieve a certain recycling rate

(“Aspirational Statement”), id. ¶ 104. Plaintiffs do not allege they ever saw or relied on these



9
     See     Recycling     Pledge       Form,      City       of     Dodge       City,      Kansas,
www.dodgecity.org/DocumentCenter/View/302/Recycling-Pledge (last visited Mar. 8, 2025).
10
   ACC has never manufactured, sold, or distributed plastic resins (or any type of plastic product).


                                                 6
statements when purchasing plastic products, or even knew that Defendants’ resins 11 were

contained in any products they purchased. Indeed, Plaintiffs do not allege reliance on any statement

by anyone regarding recycling. Plaintiffs also do not explain how pro-recycling statements from

the 1980s and 1990s influenced the price of the plastic products they purchased in the present day.

       The AC asserts forty-six causes of action, which can be summarized as follows: violations

of antitrust law (“Antitrust Claims”), including violations of federal law (Count 1) (“Federal

Antitrust Claim”) and state antitrust laws (Counts 18–45) (“State Antitrust Claims”); public

nuisance (Count 2); violations of consumer protection and deceptive trade practices laws (Counts

3–17) (“Consumer Fraud Claims”); and unjust enrichment (Count 46). Plaintiffs purport to bring

Count 1 on behalf of a nationwide class of both consumers and government entities (other than

entities within California); Count 2 on behalf of a nationwide class of government entities (other

than those within California); and Counts 3–46 12 on behalf of a subclass of consumers and

government entities from thirty-four states and the District of Columbia. Id. ¶¶ 161–63. 13

                                       LEGAL STANARD

       Plaintiffs bear the burden of demonstrating that they have Article III standing. TransUnion

LLC v. Ramirez, 594 U.S. 413, 430–31 (2021). Standing is necessary for each plaintiff, “for each

claim [a plaintiff] seeks to press[,] and for each form of relief that is sought.” Davis v. FEC, 554

U.S. 724, 734 (2008). To satisfy Article III, Plaintiffs must demonstrate for every claim “a causal

connection between the injury and the conduct complained of.” Lujan v. Defenders of Wildlife,

504 U.S. 555, 560 (1992). “For causation to exist, the injury has to be fairly traceable to the


11
   Here and throughout, reference to “Defendants’ resins” is not intended to suggest that ACC,
Chevron U.S.A. Inc., or DuPont de Nemours, Inc. manufactured plastic resin.
12
   Plaintiffs fail to specify on behalf of which class they purport to bring Count 46, but Defendants
presume it is on behalf of the subclass.
13
   To assist the Court in its analysis, Defendants have included a chart providing all of the claims
asserted by Plaintiffs, and the applicable defenses to each. See Exhibit 1.


                                                 7
challenged action of the defendant, and not the result of the independent action of some third party

not before the court.” AGRED v. U.S. Army, 3 F.4th 1069, 1073 (8th Cir. 2021). While “[a]bsolute

certainty is not required in proving a causal connection . . . , the evidence must bring the causal

connection beyond ‘the nebulous twilight of speculation, conjecture and surmise.’” Howard v. Mo.

Bone, 615 F.3d 991, 996 (8th Cir. 2010). Also, Rule 12(b)(6) requires dismissal of a complaint

that lacks “sufficient factual matter, accepted as true, to ‘state a claim to relief that is plausible on

its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009). Further, because Plaintiffs’ Consumer Fraud

Claims and unjust enrichment claim sound in fraud, they must also satisfy Rule 9(b)’s heightened

pleading standard. Streambend v. Ivy Tower, 781 F.3d 1003, 1012 (8th Cir. 2015).

                                            ARGUMENT

I.      PLAINTIFFS LACK ARTICLE III STANDING (ALL COUNTS)

        Plaintiffs allege that Defendants conspired to increase the demand for and price of plastics

by making public statements supporting plastic recycling. Plaintiffs’ allegations and theory of

deception are pure “conjecture and surmise,” and lack any plausible causal connection to

Plaintiffs’ purported harm. Howard, 615 F.3d at 996; Iqbal, 556 U.S. at 679 (in assessing such

allegations, courts “draw on [their] judicial experience and common sense”).

        As the AC makes clear, for decades the federal and state governments—including Missouri

and Kansas—have actively endorsed and mandated recycling. See AC ¶ 95. Conversely, the AC

identifies only a few sparse and vague statements that some (but not all) Defendants made about

recycling decades ago. Plaintiffs do not allege that Defendants’ statements differed from or were

contradictory to the governments’ positions on recycling. Id. ¶¶ 75, 102, 113. Plaintiffs allege no

facts to support the theory that these statements caused the increase in demand for, or any change

to the price of, plastic—rather than other factors, including consumer preference and the pervasive

recycling endorsements and mandates that the state and local governments (and countless third


                                                   8
parties) have and continue to make. Thompson v. Genesco, Inc., 2024 WL 81187, at *6 (E.D. Mo.

Jan. 8, 2024). Further, Plaintiffs’ entire causal theory rests on the assumption that consumers’

purchasing patterns are motivated by whether a product can be recycled. However, as Plaintiffs

concede, consumers make purchasing decisions for a variety of reasons, most notably related to

the product itself, rather than the container or packaging in which the product is sold. AC ¶¶ 63–

65. Plaintiffs have not and cannot plausibly allege a causal relationship between consumers’

decisions to purchase plastic products and Defendants’ decades-old statements as part of that

decision. It is thus not surprising that the AC does not identify a single statement any Defendant

allegedly made that Plaintiffs relied on when deciding to purchase any plastic product.

       The challenged statements are also too attenuated from Plaintiffs’ purported harm in light

of the many “independent actions” by immeasurable “third part[ies] not before the [C]ourt.” Lujan,

504 U.S. at 560. In addition to the governments’ recycling endorsements and manifold consumer

preferences, the demand and price of plastics are determined by the many independent actors in

the supply chain (and their competitors)—not Defendants, who are merely some of the many

manufacturers of plastic resins. Swartz v. Coca-Cola, 2023 WL 4828680, at *4 (N.D. Cal. July 27,

2023) (“It also bears mention that the consumer deception alleged in the FAC is tied to forces and

circumstances well beyond defendants’ control . . . . The plausibility of holding defendants to

account for statements made in such volatile circumstances is not at all clear in the FAC.”).

       Indeed, Plaintiffs fail to explain how allegedly increasing the demand for plastic products

increased the price, especially given Plaintiffs’ separate allegations that the supply of plastic

products “exponentially increase[d].” See, e.g., AC ¶¶ 2, 6. Nor do Plaintiffs explain how the

supposedly inflated prices for Defendants’ resins were “passed on to each plaintiff through each

of the various intermediate levels of the distribution chain.” In re Hard Disk Drive Suspension




                                                 9
Assemblies Antitrust Litig., 2020 WL 6270948, at *2 (N.D. Cal. Oct. 23, 2020). These deficiencies

are fatal to establishing traceability. Id. at *3 (dismissing indirect purchasers’ antitrust, consumer

fraud, and unjust enrichment claims because the complaint pled no facts identifying the

participants in the distribution chain or establishing “that each participant in the chain necessarily

passed on the asserted overcharge to the next participant”); AGRED, 3 F.4th at 1073.

       Plaintiffs’ purported harm is not fairly traceable to any alleged deceptive statement or the

alleged conspiracy, and Plaintiffs thus do not have standing for any of their claims.

II.    PLAINTIFFS FAIL TO STATE ANY ANTITRUST CLAIM (COUNTS 1, 18–45)

       A.      Plaintiffs Fail to Allege Any Restraint of Trade

       Section 1 of the Sherman Act prohibits conspiracies “in restraint of trade.” 15 U.S.C. § 1;

Apex Hosiery Co. v. Leader, 310 U.S. 469, 493 (1940) (discussing the purpose of Section 1 as “the

prevention of restraints to free competition in business and commercial transactions”); Associated

Radio Serv. Co. v. Page Airways, Inc., 624 F.2d 1342, 1353 n.20 (5th Cir. 1980) (“[A] ‘restraint

of trade’ . . . tends to restrict or otherwise control free and open competition.”).

       Missing from the AC, however, are any allegations that Defendants’ conduct restrained

trade at all. At best, Plaintiffs allege Defendants misled the public about the recyclability of

plastics, which supposedly increased demand and made consumers willing to pay higher prices for

plastic products. But where is the restraint? Plaintiffs do not allege that Defendants agreed to, or

actually did, restrict output of their products or otherwise diminish competition with one another

to sell plastic, such as agreeing not to compete on price. To the contrary, Plaintiffs allege that

Defendants increased the output of plastics products, AC ¶ 6—as they must for their public

nuisance    claim—which      is   indicative   of    a   procompetitive   marketplace.   Areeda    &

Hovenkamp, Antitrust Law ¶ 1503b1 (noting an “increase in marketwide output is presumptively

procompetitive”); Cal. Dental v. FTC, 526 U.S. 756, 775 (1999); Chi. Pro. Sports v. NBA, 95 F.3d


                                                    10
593, 597 (7th Cir. 1996) (“The core question in antitrust is output. Unless a contract reduces output

in some market, to the detriment of consumers, there is no antitrust problem.”). Plaintiffs also do

not allege that Defendants agreed to, or did, fix the price of resins or refrain from price competition

in any way. Absent any such conduct, trade is not restrained and there can be no Sherman Act

violation. Lastly, Plaintiffs do not allege that Defendants’ purported statements in any way

excluded competition from innovators or rivals offering a competitive product.

       Courts have consistently refused to permit antitrust claims predicated on an alleged

conspiracy to engage in false or misleading statements: “the remedy is not antitrust litigation, but

more speech—the marketplace of ideas.” Santana v. Bobrick, 401 F.3d 123, 132–34 (3d Cir. 2005)

(“Santana’s allegations of fraud . . . are irrelevant because deception, reprehensible as it is, can be

of no consequence so far as the Sherman Act is concerned.”); Ariz. v. Cook, 391 F. Supp. 962, 970

(D. Ariz. 1975) (“[False advertising] conspiracy alleged here is not a ‘conspiracy in restraint of

trade’ within the purview of Section 1 of the Sherman Act.”), aff’d, 541 F.2d 226 (9th Cir. 1976).

“Far from undermining competition, false statements ‘set the stage for competition.’” GDHI Mktg.

v. Antsel, 416 F. Supp. 3d 1189, 1201–02 (D. Colo. 2019). Plaintiffs’ Antitrust Claims thus rest

entirely on allegations of supposedly false commercial speech—which cannot constitute

actionable restraints of trade under the antitrust laws. See id. at 1202 (“[E]ven demonstrably false

commercial speech is not actionable under the antitrust laws.”); Sanderson v. Culligan Int’l, 415

F.3d 620, 624 (7th Cir. 2005) (“Commercial speech is not actionable under the antitrust laws.”).

       B.      Plaintiffs Fail to Plead an Agreement

       Apart from the absence of any restraint, Plaintiffs separately fail to adequately plead an

agreement that restrains trade—the “crucial” element of a Section 1 conspiracy claim. Twombly,

550 U.S. at 553. As a threshold matter, Plaintiffs fail to meet the requirement of pleading

specificity because they impermissibly lump together and make sweeping generalizations about


                                                  11
all “Defendants.” In addition, Plaintiffs fail to plead direct evidence of an unlawful agreement, or

circumstantial evidence from which this Court can infer one. These pleading deficiencies also

doom Plaintiffs’ state law claims. Hobart-Mayfield v. Nat’l Op. Comm. on Standards for Athletic

Equip., 48 F.4th 656, 663 (6th Cir. 2022) (state law antitrust claims “prevail or fail in tandem with

federal antitrust claims”); Insulate SB v. Adv. Finishing, 797 F.3d 538, 547 (8th Cir. 2015) (same).

               1.      Plaintiffs Rely on Improper Group Pleading

       Plaintiffs fail to plausibly allege an agreement because they rely on improper “group

pleading” rather than alleging facts about which specific Defendants agreed to what and when.

Plaintiffs allege that “Defendants,” as an undifferentiated group, entered into a conspiracy. See AC

¶¶ 2, 8, 11, 155, 179. But Plaintiffs are required to allege the details concerning how and when

each Defendant entered and participated in the alleged conspiracy. For some Defendants, 14

Plaintiffs allege no specific conduct at all. Such generic pleading “[w]ithout some supporting

factual allegations” as to each Defendant is insufficient. Insulate, 797 F.3d at 546. “Twombly

makes clear that at the pleading stage in an antitrust case, each defendant is entitled to know how

it is alleged to have conspired, with whom, and for what purpose. . . . When alleging a conspiracy,

the law is clear that ‘[e]ach defendant is entitled to know what he or she did that is asserted to be

wrongful,’ and ‘a complaint based on a theory of collective responsibility must be dismissed.’” In

re Crop Inputs Antitrust Litig., 2024 WL 4188654, at *8 (E.D. Mo. Sept. 13, 2024); see also

Twombly, 550 U.S. at 556 (holding that a § 1 claim “requires a complaint with enough factual

matter, taken as true, to suggest that an agreement was made”). Thus, Plaintiffs’ group pleading

allegations are properly ignored for purposes of their effort to state a claim.


14
  For example, the AC identifies Chevron Phillips Chemical Company LP in only three paragraphs
(AC ¶¶ 26, 218, 233), without any allegations of specific wrongful conduct or deceptive statements
by it. The AC similarly only mentions LyondellBasell Industries, N.V. and Celanese Corporation
a handful of times and fails to identify any specific wrongdoing or deceptive statements by them.


                                                 12
               2.      Plaintiffs Have Not Pleaded Direct Evidence of an Unlawful Agreement

       Plaintiffs have not alleged direct evidence of an unlawful agreement between Defendants,

i.e., a “smoking gun” allegation that requires no inferences to establish an agreement. Impro Prods.

v. Herrick, 1982 WL 1883, at *3 (S.D. Iowa Aug. 13, 1982), aff’d, 715 F.2d 1267 (8th Cir. 1983).

To plead an agreement directly, Plaintiffs “cannot simply incant the magic words ‘conspiracy’ or

‘agreement.’” Buetow v. A.L.S., 564 F. Supp. 2d 1038, 1041 (D. Minn. 2008). Here, Plaintiffs point

to no documents or statements evidencing any agreement. The “pleadings mention[] no specific

time, place or person involved in the alleged conspiracies.” Id.; Five Smiths, Inc. v. Nat’l Football

League, 788 F. Supp. 1042, 1048 (D. Minn. 1992) (holding conspiracy allegations “too vague”

where plaintiffs failed to assert specific facts about actions taken and agreements entered into).

               3.      Plaintiffs Have Pleaded No Circumstantial Evidence From Which This
                       Court May Infer an Unlawful Agreement

       Absent direct evidence of a conspiracy, Plaintiffs must plead facts that raise a plausible

inference of conspiracy (i.e., circumstantial evidence). Twombly, 550 U.S. at 556. To establish a

conspiracy by circumstantial evidence, the Eighth Circuit requires plausible allegations of both

“parallel conduct” and “plus factors.” Blomkerst v. Potash, 203 F.3d 1028, 1033 (8th Cir. 2000).

“[P]arallel conduct on its own” and “plus factors without plausible allegations of parallel conduct

are insufficient to establish an inference of an agreement.” In re Pork, 2019 WL 3752497, at *7

(D. Minn. Aug. 8, 2019) (citing Park v. Express, 911 F.3d 505, 517 (8th Cir. 2018)). Here, the AC

fails to adequately plead either.

                       i       Plaintiffs Fail to Plead Parallel Conduct

       To plausibly allege parallel conduct, Plaintiffs must provide a “basis to analyze which, how

many, or when any of the individual Defendants” acted. In re Pork, 2019 WL 3752497, at *8.

Generalized “industry-wide data and public statements made by some of the individual




                                                 13
Defendants” are insufficient. Id. Plaintiffs here do not allege facts showing any parallel behavior

indicative of any conspiracy. At best, Plaintiffs point to a small handful of public statements by

third-party trade associations over many decades. But such allegations are sparse and conclusory,

and do not demonstrate that Defendants acted in parallel.

       First, Plaintiffs’ allegations lack the requisite “temporal proximity” to establish parallel

conduct. Park, 911 F.3d at 516. Here, the challenged statements by Defendants and trade

associations span decades. For example, Plaintiffs point to the proliferation of recycling-oriented

trade groups, but Plaintiffs fail to allege that all Defendants were even members of these groups,

and these groups were created at different times over several decades. AC ¶ 90. Moreover, mere

membership in a trade organization that took certain actions is not evidence that the organization’s

members conspired to engage in those actions. AD/SAT, Div. of Skylight, Inc. v. Associated Press,

181 F.3d 216, 234 (2d Cir. 1999) (“[Not] every action by a trade association is . . . concerted action

by the association’s members.”). Plaintiffs also point to alleged advertising by third-party

organizations (again, not by any specific Defendants), but this advertising occurred at various

times across decades. AC ¶¶ 93, 112–13. There is simply no indication that these actions were

coordinated and “calling this conduct ‘parallel’ is a stretch.” LLM Bar v. Barbri, 271 F. Supp. 3d

547, 579 (S.D.N.Y. 2017) (holding there is no indication of parallel conduct where alleged actions

took place “at different times over the span of several years”); see also Park, 911 F.3d at 516–17

(affirming dismissal where alleged parallel conduct was six months apart).

       Second, Defendants’ alleged statements vary in substance. For example, the AC includes

a purported magazine advertisement about the “urgent need to recycle,” followed by an alleged

statement that Mobil was “venturing into recycling” and would adhere to EPA

recommendations. See AC ¶¶ 93–94. These statements are different and are not allegations of




                                                 14
parallel conduct. One is aimed at the public encouraging specific action, while the other is a

statement about a company’s plans, with no indication that it was intended to influence anyone.

       Third, Plaintiffs do not even allege that all Defendants made such public statements. As

discussed in Section II.B.1, Plaintiffs rely on conclusory and impermissible group pleading, with

most allegations naming actions taken by “Defendants” or “the plastics industry” at large. Such

allegations provide no basis to determine whether any Defendant engaged in parallel behavior.

                      ii      Plaintiffs Fail To Allege Any “Plus Factors”

       “Because [Plaintiffs] fail[] to plausibly plead parallel conduct, no discussion of any ‘plus

factors’ is necessary” and the Antitrust Claims should be dismissed. Park, 911 F.3d at 516–17.

However, the Antitrust Claims also fail because Plaintiffs do not adequately plead the requisite

plus factors. Plus factors “are economic actions and outcomes that are largely inconsistent with

unilateral conduct but largely consistent with explicitly coordinated conduct” that thus permit an

inference of a preceding agreement. Id. Plus factors can include “(1) a shared motive to conspire;

(2) action against self-interest; (3) market concentration; and (4) a high-level of interfirm

communication.” Id. Without plus factors, parallel conduct may just as easily be “in line with a

wide swath of rational and competitive business strategy unilaterally prompted by common

perceptions of the market.” Twombly, 550 U.S. at 554. Plaintiffs have not adequately pled any plus

factor. The AC is devoid of any claim that the alleged market is concentrated and, as to the other

three factors, the allegations demonstrate no more than common and lawful business practices.

       First, the AC does not establish that Defendants took any action against self-interest. To

the contrary, it provides lawful and independent business reasons for Defendants’ actions.

According to the AC, Defendants faced immense public backlash regarding plastic products and

sought “to prevent bans on single-use plastics.” AC ¶ 117. If true, the promotion of recycling by

any Defendant (consistent with the government’s heavy promotion of it) would be a logical,


                                               15
unilateral business response to this increased scrutiny—not evidence of an anticompetitive

conspiracy. In re Musical Instruments Antitrust Litig., 798 F.3d 1186, 1193 (9th Cir. 2015)

(“[F]irms may arrive at identical decisions independently, as they are cognizant of—and reacting

to—similar market pressures.”); CVB v. Corsicana, 2024 WL 4505044, at *8 (D. Utah Oct. 16,

2024) (finding no “conspiracy to mislead consumers” where plaintiff did not sufficiently allege

that defendants’ statements were “plausibly motivated by an illicit conspiracy to restrain trade

rather than part of the normal course of [d]efendants’ businesses”). Plaintiffs allege no behavior

that is inconsistent with any Defendant’s independent self-interest.

       Second, common business motives alone do not support an inference of conspiracy. Serfecz

v. Jewel, 67 F. 3d 591, 600–01 (7th Cir. 1995). A common motive to increase profits is not a “plus”

factor, because that interest is “universally shared by all businesses.” Bookends & Beginnings LLC

v. Amazon.com, 2022 WL 18144916, at *9 (S.D.N.Y. Aug. 24, 2022). In addition, plastic recycling

was touted by innumerable entities (including the government) that were not engaged in the alleged

conspiracy and did not benefit from the sale of plastics—underscoring that such promotion was a

rational response to public concerns, rather than evidence of any conspiracy.

       Third, Plaintiffs devote much of the AC to the unremarkable allegation that Defendants

participate in trade associations and industry events. But “[m]ere membership in a trade association

will not nudge an allegation from the realm of parallelism to the land of agreement.” In re Foods,

Inc. Sec. Litig., 275 F. Supp. 3d 970, 995 (W.D. Ark. 2017); In re Crop Inputs, 2024 WL 4188654,

at *12 (“[C]ommon membership on a board or participation in a trade association is not indicative

of an illegal conspiracy.”); In re Passenger Vehicle Replacement Tires Antitrust Litig., 2025 WL

606533, at *17 (N.D. Ohio Feb. 25, 2025) (“[T]he Court follows the well-trodden path of other

courts in concluding that defendants’ mere attendance at these trade association meetings




                                                16
contributes little, if anything, to the plausibility of the alleged conspiracy.”). As the Supreme Court

explained, defendants should not have to “devote financial and human capital to hire lawyers,

prepare for depositions, and otherwise fend off allegations of conspiracy” because they are

members of the same trade associations or attend industry events. Twombly, 550 U.S. at 567 n.12.

Here, Plaintiffs’ allegations amount to a speculative “same time, same place” theory that is

insufficient as a matter of law to establish conspiracy. In re Chocolate, 801 F.3d 383, 409 (3d. Cir.

2015) (evidence that executives at trade show meetings “were in the same place at the same time

. . . [is] insufficient to support a reasonable inference of concerted activity”).

        C.      Defendants’ Conduct is Immune Under the Noerr-Pennington Doctrine

        Under the Noerr-Pennington doctrine, the Supreme Court has “immunized from antitrust

scrutiny” lobbying efforts, including “attempts to induce the passage or enforcement of law or to

solicit government action.” Razorback Ready Mix Concrete Co. v. Weaver, 761 F.2d 484, 486 (8th

Cir. 1985). Noerr-Pennington immunity extends to private actions, if they are “incidental to a valid

effort to influence governmental action.” Allied Tube & Conduit Corp. v. Indian Head, 486 U.S.

492, 500 (1988). And “[a] publicity campaign directed at the general public, seeking legislative or

executive action, enjoys antitrust immunity even when the campaign employs unethical and

deceptive methods.” Id. at 499–500.

        Here, Plaintiffs allege that much, if not all, of Defendants’ conduct was protected speech

made in the lobbying context “to defend the plastics industry from restrictive legislation.” AC ¶¶

6, 61–62, 67–68, 85, 97, 99, 116–17. Under Noerr-Pennington immunity, this speech cannot form

the basis of the Antitrust Claims. Plaintiffs make no effort to distinguish the effects of these

lobbying efforts from any other alleged statements that Defendants and others have made. But

even if Noerr-Pennington immunity only applies to some of the alleged misstatements, Plaintiffs’

claims still fail because they have not alleged effects isolated only to the alleged conduct that does


                                                  17
not comprise protected speech. Concord v. Brunswick, 207 F.3d 1039, 1057 (8th Cir. 2000).

       D.      Plaintiffs Do Not Plausibly Allege an Unreasonable Restraint of Trade

       The Antitrust Claims also fail because Plaintiffs have not plausibly alleged that any such

restraint is unreasonable. To assert a Section 1 violation, Plaintiffs must also plead the requisite

elements under the “rule of reason,” the standard “according to which the finder of fact must decide

whether [Defendants’] questioned practice imposes an unreasonable restraint on competition.”

Double D Spotting Serv. V. Supervalu, Inc., 136 F.3d 554, 558 (8th Cir. 1999). 15 Specifically,

Plaintiffs must sufficiently allege: (1) “a relevant market” as to which (2) the allegedly unlawful

conduct “has ‘detrimental effects’ upon the competitiveness of the market.” Craftsmen v.

Limousine, Inc., 491 F.3d 380, 388 (8th Cir. 2007). Plaintiffs fail to plead both of these elements.

               1.      Plaintiffs Fail to Adequately Allege a Relevant Market

       First, it is Plaintiffs’ “burden to define the relevant market.” Double D, 136 F.3d at 560.

The relevant product market is “determined by the reasonable interchangeability of use or the

cross-elasticity of demand between the product itself and substitutes for it.” Brown Shoe Co. v.

U.S., 370 U.S. 294, 325 (1962). “The relevant product market includes all reasonably

interchangeable products.” Double D, 136 F.3d at 560. “The failure to allege a product market

consisting of reasonably interchangeable goods renders [a complaint] ‘facially unsustainable’ and

appropriate for dismissal.” Golden Gate Pharm. Servs., Inc. v. Pfizer, Inc., 433 F. App’x 598, 599

(9th Cir. 2011); E-Z Dock v. Shoremaster, 2006 WL 1153901, at *2 (W.D. Mo. Apr. 25, 2006)

(“[A]n antitrust claim will be dismissed if a complaint fails to allege facts regarding substitute


15
   There are a limited category of agreements that are deemed per se violations because they are
“so plainly anticompetitive and lacking in redeeming virtue that they are conclusively presumed
to be illegal” without inquiry into the reasonableness of the restraint. Five Smiths, 788 F. Supp. at
1045. Plaintiffs do not allege a per se agreement or violation. Nor could they, as an agreement to
make supposedly misleading statements about recycling is not the type of concerted action that
courts have found to be per se unlawful. Stifel v. Dain, 578 F.2d 1256, 1259 (8th Cir. 1978).


                                                 18
products, to distinguish among apparently comparable products[.]”).

       Here, Plaintiffs have failed to allege a product market consisting of reasonably

interchangeable goods. Plaintiffs’ proposed relevant market is “plastics products for end use

consumption.” AC ¶ 177. Plaintiffs engage in no discussion of possible substitutes or comparable

products, which is required to delineate which products are reasonably interchangeable, i.e., within

the product market. Monsanto v. Swann, 2001 WL 34079489, at *3 (E.D. Mo. Sept. 19, 2001)

(dismissing broad market for “all cotton seed and all soybean seeds” when plaintiff failed to define

the market “with reference to the rule of reasonable interchangeability”); Process Controls v.

Emerson, 2011 WL 403121, at *4 (E.D. Mo. Feb. 1, 2011) (the product market definition failed

because it did not account for reasonable interchangeability of products). For example, Plaintiffs

do not explain why an aluminum can or glass bottle of soda are not reasonable substitutes for a

plastic soda bottle to a consumer who is choosing the beverage and not the container. Plaintiffs

also make no allegations addressing why a cardboard box is not a reasonable substitute for a plastic

box, or why a paper plate is not a reasonable substitute for a plastic one.

       Plaintiffs also make no allegations establishing that all “plastics products for end-use

consumption” are interchangeable with one another. To the contrary, Plaintiffs admit that “[t]here

are thousands of different types of plastic, each with its own chemical composition and

characteristics” and plastic products “can be separated into certain categories based on their

chemical composition and end use.” AC ¶¶ 34–43. Plaintiffs allege no facts that could explain, for

example, why a consumer who went to a store to purchase water in plastic PET bottles would

purchase a polycarbonate food container if the store was out of the former. Plaintiffs also offer no

allegations to support the counter-intuitive notion that a plastic bottle competes with a plastic

kayak. This is exactly “the type[] of pleading[] that fail[s] to allege a plausible relevant product




                                                 19
market.” Mahaska v. Pepsico, 271 F. Supp. 3d 1054, 1075 (S.D. Iowa 2017) (dismissing complaint

where plaintiff made “no effort to explain its market definition beyond the bare allegation”).

               2.      Plaintiffs Fail to Plausibly Allege Detrimental Effects on Competition

       Even if Plaintiffs alleged a relevant market, they fail to allege harm to competition in it.

Section 1 of the Sherman Act only forbids conspiracies that “impose an unreasonable restraint on

competition.” Craftsmen, 491 F.3d at 386. “To determine the legality of a restraint of trade under

the rule of reason, one must focus on the detrimental effects to competition” in the relevant market.

Flegel v. Christian Hosp., 4 F.3d 682, 688 (8th Cir. 1993). A plaintiff may allege detrimental

effects by (1) putting forth “evidence of ‘actual, sustained adverse effects on competition’” or (2)

“making ‘an inquiry into market power and market structure.’” Craftsmen, 491 F.3d at 388.

       Plaintiffs have not plausibly alleged any direct actual effect on competition. Plaintiffs make

conclusory allegations that the alleged conspiracy “artificially increased” the price and demand of

plastic. But, Plaintiffs do not plead facts plausibly establishing either of these effects or that they

resulted from the alleged conspiracy, or that competition for sales of plastic was diminished in any

way. Ohio v. Am. Express, 585 U.S. 529, 549 (2018) (“This Court will not infer competitive injury

from price and output data absent some evidence that tends to prove that output was restricted or

prices were above a competitive level.”).

       Plaintiffs allege no facts to support their assertion that Defendants’ conduct resulted in

higher prices. Plaintiffs do not reference the price of a single plastic product, either before or after

the alleged agreement was supposedly formed. Instead, Plaintiffs generically reference the alleged

“artificial increase” in demand for plastics, see, e.g., AC ¶¶ 172–73, 179, 181, 208, 226, while at

the same time conceding that plastics supply has “exponentially increase[d]” over the last six




                                                  20
decades, id. ¶ 6. But this says nothing about price or competitive conditions. 16 See In re Musical

Instruments, 798 F.3d at 1197 n.13 (affirming dismissal of antitrust claim where “[a]ny manner of

economic variables may have contributed to these fluctuations in prices and sales”). Nor do

Plaintiffs allege that Defendants agreed to, or did, fix the price of resins or refrain from competition

with respect to resins. Accordingly, Plaintiffs’ conclusory price allegations fail to indicate any

anticompetitive conduct or effect. EnviroPAK Corp. v. Zenfinity Cap., LLC, 2015 WL 331807,

*15 (E.D. Mo. Jan. 23, 2015) (granting motion to dismiss where plaintiff failed to “plead factual

content which allows the court to draw a reasonable inference” of anticompetitive effect).

       Plaintiffs also plead no facts evidencing a causal relationship between any alleged

conspiracy and any claimed demand increase. Rather, Plaintiffs plead conclusory allegations about

plastic production—a single chart purportedly demonstrating that global plastic production has

risen over the years accompanied by an assertion that U.S. plastic production has similarly risen.

AC ¶¶ 141, 147. But Plaintiffs allege no facts linking any rise in plastic production to the alleged

conspiracy. Craftsmen, 491 F.3d at 390–91 (“Any action that a profit-seeking business takes could

increase its market share relative to some other segment of that market; indeed, most rational

businesses actively take such steps at every available opportunity. . . but that alone does not prove

an adverse impact upon the competitive process.”). In fact, Plaintiffs’ allegations confirm that any

increase in demand for plastic production was the result of “disposable plastics [] becom[ing] the

norm for everything” by the 1960s, which was decades before the alleged conspiracy. AC ¶ 64.

Even if Plaintiffs plausibly alleged a causal relationship (they have not), the AC fails to allege facts

demonstrating that competition was restrained or diminished by the alleged conspiracy, or that



16
   Nor do Plaintiffs address the conventional economic principles that when supply rises with
demand, price does not always increase, or that, if supply increases at a rate faster than demand,
price may even decrease.


                                                  21
plastic manufacturers did not compete to meet that demand or fight for market share.

       Nor do Plaintiffs plead indirect effects on competition, because they allege no facts

regarding Defendants’ purported market power or the market structure (let alone actually define a

relevant market). See, e.g., Hip Hop Beverage Corp. v. Monster Energy Co., 2016 WL 7479402,

at *4 (C.D. Cal. July 7, 2016) (dismissing Section 1 claim where plaintiffs’ “market power

allegations [were] largely conclusory and did not provide the requisite detail of market injury or

market structure”). Accordingly, Plaintiffs have failed to adequately plead the Antitrust Claims.

       E.      Plaintiffs Fail to Plead Antitrust Standing

       Plaintiffs separately lack antitrust standing to pursue their claims, which is a threshold

requirement at the pleading stage and distinct from constitutional standing. In re Can. Import

Antitrust Litig., 470 F.3d 785, 791 (8th Cir. 2006). A plaintiff must allege (i) “antitrust injury,”

i.e., an injury “of the type the antitrust laws were intended to prevent and that flows from that

which makes or might make defendants’ acts unlawful,” and (ii) that plaintiff is a “proper party to

bring a private antitrust action,” or an “efficient enforcer” of the antitrust laws. McDonald v. J&J,

722 F.2d 1370, 1374 (8th Cir. 1983); Midwest Commc’ns v. Minn. Twins, Inc., 779 F.2d 444, 451

(8th Cir. 1985). Plaintiffs fail to plead facts alleging either of these two standing requirements.

               1.      Plaintiffs Have Not Plausibly Alleged Antitrust Injury

       Even if Plaintiffs believe they were harmed in some manner by Defendants’ alleged

conduct, that is not the relevant question for antitrust injury purposes. Goldfinch v. Iowa

Pathology, 2024 WL 5205936, at *4 (S.D. Iowa Dec. 13, 2024). The relevant question is whether

Defendants’ alleged conduct harmed competition as a whole in the alleged market, and that

Plaintiffs’ injury flowed from that harm to competition. Craftsmen, 491 F.3d at 391.

       Plaintiffs have not shown antitrust injury because, as discussed in Sections II.A and II.D,

they have not plausibly alleged any harm to competition. Plaintiffs’ allegation that Defendants’


                                                 22
conduct was output-enhancing—which is indicative of greater competition—forecloses them

from adequately pleading antitrust injury. Niemann v. Carlsen, 2023 WL 4198227, at *10 (E.D.

Mo. June 27, 2023). Nor can Plaintiffs’ antitrust injury be predicated on Defendants’ allegedly

false or misleading statements, which “set the stage for competition.” GDHI Mktg., 416 F. Supp.

3d at 1201–02; Harrison v. Aerostar, 316 F. Supp. 2d 186, 221–22 (E.D. Pa. 2004) (“[Where]

Plaintiff[s’] damages, if any, arise out of fraud, Plaintiff[s] ha[ve] not suffered ‘antitrust injury.’”).

In short, because Plaintiffs have failed to plausibly allege a restraint of trade (much less an

“unreasonable” restraint), they cannot plausibly allege antitrust injury as a matter of law.

                2.      Plaintiffs Are Not “Proper Parties”

        Even if Plaintiffs could allege antitrust injury, they would lack antitrust standing because

any claim of theirs is too attenuated and far removed in the distribution chain from Defendants’

conduct. In other words, they are not “proper parties” (sometimes referred to as “efficient

enforcers”) with regard to the asserted antitrust claims. See Associated Gen. Contractors of Calif.,

Inc. v. Calif. State Council of Carpenters, 459 U.S. 519, 540–45 (1983) (“AGC”). Whether a

plaintiff is a “proper party” is based on six factors:

        (1) The causal connection between the alleged antitrust violation and the harm to
        the plaintiff; (2) Improper motive; (3) Whether the injury was of a type that
        Congress sought to redress with the antitrust laws; (4) The directness between the
        injury and the market restraint; (5) The speculative nature of the damages; (6) The
        risk of duplicate recoveries or complex damage apportionment.

McDonald, 722 F.2d at 1374. 17 Federal courts, including courts in this Circuit, have found that

AGC applies to all of Plaintiffs’ Antitrust Claims, with the exception of Colorado and

Minnesota 18—and even those states require Plaintiffs to plead and demonstrate proximate


17
   Factors five and six do not apply in standing determinations for injunctive relief. Cargill, Inc. v.
Monfort of Colo., Inc., 479 U.S. 104, 111 n.6 (1986).
18
   In re Cattle & Beef Antitrust Litig., 687 F. Supp. 3d 828, 841 (D. Minn. 2023) (holding all states
at issue would apply AGC, except for Colorado and Minnesota, and granting dismissal for lack of


                                                   23
causation (the core of the AGC test). 19 Sup. Auto Transp., LLC v. Arcelor Mittal USA, 902 F.3d

735, 743 (7th Cir. 2018); State of S.D. v. Kan. City S. Indus., 880 F.2d 40, 46 (8th Cir. 1989). 20

       All of the AGC factors weigh decidedly against antitrust standing here. First, Plaintiffs

have not alleged a causal connection between their alleged injuries and Defendants’ alleged

antitrust violations. Plaintiffs do not allege that they purchased plastic resins from Defendants or

that plastic resins manufactured by Defendants were used in the products that Plaintiffs purchased.

AC ¶ 177. In fact, Plaintiffs do not even identify what “plastics products” they purchased, from

whom, or when. See, e.g., Sup. Auto Transp., LLC v. Arcelor Mittal, 238 F. Supp. 3d 1032, 1040

(N.D. Ill. 2017) (finding indirect purchasers failed to allege the requisite causal connection under

AGC where the complaint “did not even identify whether the steel in these products came from

defendants’ steel mills at all”). Indeed, Plaintiffs’ few causation allegations are boilerplate and


antitrust standing); Carefirst of Md., Inc. v. J&J, 745 F. Supp. 3d 288, 322 (2024) (dismissing state
law antitrust claims on antitrust standing grounds after concluding those states either “explicitly
apply the factors from AGC or use a substantially similar test”). State-by-State Authority on
Applicability of the AGC Factors is attached hereto as Exhibit 2.
19
   Lorix v. Crompton Corp., 736 N.W.2d 619, 631 (Minn. 2007) (“Standing under Minnesota
antitrust law must be defined by some prudential limits informed by foreseeability, proximate
cause, remoteness, and relation of the injury to the purposes of the antitrust law.”); Colo. Rev. Stat.
Ann. § 6-4-115 (“Any person injured, either directly or indirectly, in its business or property by
reason of any violation of this article 4 may sue and, if successful, is entitled to recover any actual
damages that the person sustained.”); cf. N. Co. Med. Ctr., Inc. v. Comm. on Anticompetitive
Conduct, 914 P.2d 902, 904 (Colo. 1996) (holding “proximate cause analysis was appropriate for
determining whether unreasonable anticompetitive conduct had occurred”).
20
   Specifically, nineteen of the states at issue have explicitly adopted the AGC factors or a
substantially similar test. These states include: Arizona, California, Connecticut, D.C., Illinois,
Iowa, Kansas, Maine, Maryland, Michigan, Mississippi, Nebraska, Nevada, New Mexico, New
York, North Carolina, North Dakota, South Dakota, and Wisconsin. See Exhibit 2. This Court
should hold that the remaining seven states would also apply AGC in light of the presence of a
statutory harmonization provision and the absence of any countervailing statutory or case law.
These states include: Hawaii, New Hampshire, Oregon, Rhode Island, Tennessee, Utah, and West
Virginia. Id.; In re Dairy Farmers Antitrust Litig., 2015 WL 3988488, at *4 (N.D. Ill. June 29,
2015); Hunter v. Page Cnty., Iowa, 102 F.4th 853, 866 (8th Cir. 2024) (holding courts must “take
their guidance from decisions of the state’s highest court” and, where none exist, look to “other
reliable indicators of state law, including the decisions of” trial and appellate state courts).



                                                  24
conclusory. See AC ¶¶ 173, 175 (“As a direct and foreseeable result, Plaintiffs and the Classes

paid supracompetitive prices for plastics during the Class Periods.”).

         Second, Plaintiffs’ alleged injuries are highly speculative and attenuated from Defendants’

alleged conduct, which would make any damages apportionment enormously difficult. Plaintiffs

do not allege that they directly purchased Defendants’ plastic resins; rather, they purchased

finished products made from plastic. Defendants’ resins, at best, might be a component part of the

products purchased. Yet, Plaintiffs do not even attempt to describe the complex supply chain for

plastic products, or allege which entities—Defendants or intermediaries such as distributors or

retailers—actually implemented any alleged price increase. In re Keurig Green Mountain Antitrust

Litig., 383 F. Supp. 3d 187, 224 (S.D.N.Y. 2019) (dismissing indirect purchaser antitrust claims

because the “conclusory allegations fail[ed] to describe with sufficient factual detail the chain of

distribution”). Nor do Plaintiffs explain how such alleged price increases were passed down to

consumers. Sup. Auto, 902 F.3d at 744 (affirming dismissal because complaint did not “trac[e] the

effect of an alleged overcharge on steel”—comprising just “one among many components” of the

final products purchased by end users—through “the complex supply and production chain[]”).

         In short, the prices Plaintiffs paid for a bottle of water or a box of cling wrap are not set by

any Defendant, and the effect of Defendants’ and other third parties’ alleged statements from many

decades ago on the prices of the products Plaintiffs purchased in recent years (of which the plastic

is often but one component) is sheer speculation. Ginsburg v. InBev, 623 F.3d 1229, 1235 (8th Cir.

2010) (affirming dismissal, in part because allegations of “higher retail beer prices” were merely

“speculative” where “beer [was] sold to consumers through a three-tier distribution system”).

Accordingly, the Antitrust Claims must further be dismissed for lack of antitrust standing. 21



21
     Because the Consumer Fraud Claims are “largely based on anticompetitive conduct,” the Court


                                                   25
        F.      Additional Independent Grounds to Dismiss the State Antitrust Claims Exist

        Indirect purchasers, like Plaintiffs, have no standing to sue for money damages under the

Sherman Act, see Ill. Brick v. Ill., 431 U.S. 720 (1977), so Plaintiffs can only seek injunctive relief

under the Sherman Act. 22 Plaintiffs also bring damages claims under the laws of 28 states. But the

State Antitrust Claims fail for the same reasons their Sherman Act claim fails because the relevant

states apply the same standards as federal courts apply under the Sherman Act, with the exception

that they do not require plaintiffs to be direct purchasers to recover damages. Hobart, 48 F.4th at

663 (holding that state law antitrust claims “prevail or fail in tandem with federal antitrust claims”);

Insulate, 797 F.3d at 547. These claims also fail for the following additional reasons.

        Plaintiffs lack standing to sue under the laws of states where none of the named Plaintiffs

reside or were injured. It is well-settled in the Eighth Circuit that “named plaintiffs lack standing

to assert claims under the laws of the states in which they do not reside or in which they suffered

no injury.” In re Pre-Filled Propane Tank Antitrust Litig., 2016 WL 6963059, at *7 (W.D. Mo.

Jan. 13, 2016). 23 Plaintiffs bring claims under 28 states’ antitrust laws, but the named Plaintiffs

reside or made purchases in only: California, Florida, Kansas, Missouri, and New York. AC ¶¶

15–23. Thus, the Court should dismiss the Antitrust Claims under every other state’s law. 24



must also dismiss such claims where the corresponding State Antitrust Claim fails for lack of
antitrust standing. In re Cattle, 687 F. Supp. 3d at 843. Thus, the Court must dismiss Counts 4–5
and 10–15. Because Arkansas, Florida, Massachusetts, Missouri, and Vermont would also apply
AGC or a similar test, see Exhibit 2, Counts 3, 6–8, and 17 must also be dismissed.
22
   It is unclear what injunctive relief Plaintiffs seek and Plaintiffs have not pled facts on continued
risk of threatened injury, which is the predicate for such relief under Section 16 of the Clayton
Act. Plaintiffs also have not plausibly alleged the alleged conspiracy is ongoing, nor could they
given Plaintiffs allege the limitations to recycling are publicly known. AC ¶¶ 43–57.
23
   Insulate SB. v. Advanced Finishing Sys., 2014 WL 943224, at *11 (D. Minn. Mar. 11, 2024)
(dismissing at pleading stage claims for states in which named plaintiff was not resident and had
not suffered injury); Black v. Moneygram, 2016 WL 3683003, at *7–8 (E.D. Mo. July 12, 2016).
24
   Certain of the Consumer Fraud Claims must also be dismissed on this basis. The Court should
dismiss Counts 3, 5, 7, 9–18, 20–25, 27–35, and 37–45.


                                                  26
       Further, under Arizona, Colorado, Connecticut, Hawaii, Minnesota, Nevada, New York,

Oregon, Rhode Island, and Utah law, Plaintiffs were required to provide notice and mail a copy of

their AC and/or the prior operative complaint to the Attorney General upon filing suit. 25 Because

Plaintiffs fail to allege they provided any such notice, their Antitrust Claims (Counts 18, 20–21,

23, 30, 33, 36, 39–40, 43) must be dismissed. 26 Additionally, class action claims brought under

Illinois and Tennessee antitrust law (Counts 24, 42) are expressly foreclosed by statute. 27 See In

re Auto. Parts Antitrust Litig., 29 F. Supp. 3d 982, 1007 (E.D. Mich. 2014). 28

       Lastly, Plaintiffs seek damages dating back to 1990, but many of the state law statutes

permitting indirect purchaser recovery were only enacted in recent years, 29 and are not retroactive.

Owner–Operator Indep. Drivers Ass’n, Inc. v. New Prime, Inc., 339 F.3d 1001, 1006–07 (8th Cir.

2003) (“A presumption against retroactive legislation is deeply rooted in our jurisprudence.”). To

the extent Plaintiffs seek damages that pre-date the enactment of these statutes, such claims for

damages (Counts 20–21, 28, 32–34, 36, 38–40, 43) must be dismissed. 30

III.   FORD COUNTY FAILS TO STATE A PUBLIC NUISANCE CLAIM (COUNT 2)

       Ford County is the only Plaintiff that asserts a public nuisance claim, and that claim fails

as a matter of law: even the Attorney General of Kansas has intervened in this out-of-state litigation



25
   Ariz. Rev. Stat. § 44-1415(A); Colo. Rev. Stat. Ann. § 6-4-116; Conn. Gen. Stat. Ann. § 35-37;
Haw. Rev. Stat. § 480-13.3; Minn. Stat. Ann. § 325D.63; Nev. Rev. Stat. Ann. § 598A.210; N.Y.
Gen. Bus. Law § 340; Or. Rev. Stat. § 646.780; 6 R.I. Gen. Laws § 6-36-21; Utah § 76-10-3109.
26
    In re Lipitor Antitrust Litig., 336 F. Supp. 3d 395, 416 (D.N.J. 2018); In re Loestrin 24 FE
Antitrust Litig., 410 F. Supp. 3d 352, 375 (D.R.I. 2019).
27
   See 740 Ill. Comp. Stat. § 10/7(2); Tenn. Code § 47-25-106(c).
28
   See also Davenport v. Charter Commc’ns, LLC, 35 F. Supp. 3d 1040, 1050–51 (E.D. Mo. 2014).
29
   Colo. Rev. Stat. § 6-4-114(1) (enacted in 2023); Conn. Gen. Stat. § 35-46a (2017); Md. Code,
Com. Law § 11-209(b)(2) (2017); Neb. Rev. Stat. § 59-821 (2002); Nev. Rev. Stat. Ann. §
598A.210 (1999); N.H. Rev. Stat. § 356:11 (2008); N.Y. Gen. Bus. Law § 340(6) (1998); N.D.
Cent. Code. § 51-08.1-08 (1991); Or. Rev. Stat. § 646.780(1)(a) (2010); 6 R.I. Gen. Laws Ann. §
6-36-7(d) (2013); Utah Code § 76-10-3109 (2006).
30
   See, e.g., In re Opana ER Antritrust Litig., 162 F. Supp. 3d 704, 723–24 (N.D. Ill. 2016).


                                                 27
to oppose it. Ford County cannot bring a public nuisance claim through private lawyers. Kansas

law vests that authority in the County Attorney, and the County Attorney has not authorized Ford

County to sue on its behalf or any other County’s behalf. Nor has any other sub-sovereign across

the United States authorized Ford County to bring this lawsuit. The lawsuit filed here is ultra vires,

and Ford County has no legal authority to bring the claim.

       Ford County also fails to plead a viable public nuisance theory. Ford County cannot base

a nuisance on the promotion of recycling and sale of lawful plastic products as the conduct is:

(1) authorized, encouraged, and in some cases mandated by law; (2) not sufficiently frequent or

continuous; (3) not a proximate cause of Ford County’s alleged unspecified harm; and (4) not in

Defendants’ control as it relates to plastic waste. Ford County’s public nuisance claim is

unauthorized and poorly pleaded, and thus should be dismissed with prejudice.

       A.      Kansas Law Governs Ford County’s Public Nuisance Claim

       Courts in Missouri apply the “most significant relationship” test to determine choice-of-

law issues, with “a presumption that the state with the most significant relationship is the state

where the injury occurred.” Winter v. Novartis Pharms., 739 F.3d 405, 410 (8th Cir. 2014). Here,

Ford County’s alleged injury stems from its claim to have “purchased plastic products in the state

of Kansas, and operated a landfill in the State of Kansas.” AC ¶ 23. Because these purported

injuries occurred in Kansas and no factors tie the claim to any other state, Kansas law applies here.

       B.      The Board of County Commissioners of Ford County Lacks the Authority to
               Bring a Public Nuisance Claim on Either an Individual or Class Basis

       Ford County is acting ultra vires. Kansas law authorizes only three governmental entities

to bring claims for public nuisance on behalf of its citizens: (1) “the attorney general,” on behalf

of the entire state; (2) “a county attorney for enjoining such a nuisance within his or her county”;

or (3) “a city attorney for enjoining such a nuisance within his or her city.” Kan. Stat. § 60-908.




                                                 28
County attorneys in Kansas are independently elected officials who serve terms. Id. § 19-701;

Clough v. Hart, 8 Kan. 487, 494 (1871). But, this case is brought by private plaintiffs’ lawyers

purporting to represent the Ford County Board of County Commissioners. 31 It was not filed by

Kevin Salzman, the duly elected County Attorney for Ford County, who is the only authority

specified by statute who can assert the claim for Ford County. Kan Stat. Ann. § 60-908; Drainage

Dist. No. 3 v. Riverside Drainage, 178 P. 433, 434 (Kan. 1919) (district not authorized to bring

public nuisance claim that “should be brought in the name of the state, by the county attorney, or

the Attorney General”). That is the end of the story and end of the claim.

       Ford County also does not have any legal authority whatsoever to represent “all counties,

cities, and municipalities” and government entities located “in the United States and its territories,”

excluding California. See AC ¶ 161–63. Government entities may sue only under the laws of their

home state, and Ford County has no authority to pursue claims on behalf of non-Kansas

government bodies. See, e.g., In re Auto. Parts Antitrust Litig., 2015 WL 14047405, at *7 (E.D.

Mich. Apr. 30, 2015) (dismissing class allegations brought on behalf of municipalities other than

under the state’s laws where the government entity that was a named plaintiff was located); In re

Lithium Ion Batteries Antitrust Litig., 2014 WL 4955377, at *18 (N.D. Cal. Oct. 2, 2014) (same). 32

As the Kansas Attorney General pointedly demonstrates, Ford County cannot represent other

Kansas counties, much less the entire State of Kansas. Dkt. No. 113-1. Other counties in Kansas

must be represented by their respective county attorney, and numerous other government entities



31
      See Ford County Commissioners’ Meeting Minutes (Oct. 21, 2024),
https://www.fordcounty.net/AgendaCenter/ViewFile/Minutes/_10212024-517 at 99 (County
Commissioners, without County Attorney Salzman present, “directed Legal Counsel to enter into
contingency agreements with Sharp Law for Oil & Gas and Plastic Waste class action lawsuits”).
32
   Separately, Ford County could not represent other states’ government entities as states across
the country also have laws entrusting only government entity attorneys to litigate such claims. See,
e.g., Mo. Rev. Stat. § 56.060; N.Y. County Law § 501.


                                                  29
around the country are subject to “statutory requirements that local state entities must satisfy before

being represented by private counsel” like the one representing Ford County here. In re Auto.,

2015 WL 14047405, at *7. And the Eleventh Amendment separately prohibits Ford County from

representing any State. See id. at *4 (citing Thomas v. FAG, 50 F.3d 502, 505 (8th Cir. 1995)).

       C.      Ford County’s Public Nuisance Claim Fails for Numerous Reasons

       Ford County also fails to allege a viable public nuisance claim. Although the state-law label

Ford County attaches to its claim may be familiar, the substance and reach of the claim is

extraordinary and unprecedented. Indeed, Plaintiffs seek to declare the production, promotion, and

sale of lawful products a public nuisance. But public nuisance is a narrow claim that is typically

applied only in the “context of a landowner or other person in control of property conducting an

activity on his or her land in such a manner as to interfere with the property rights of a neighbor”

and “does not apply to cases involving the sale of goods.” Hunter v. J&J, 499 P.3d 719, 726 (Okla.

2021) (collecting cases). This is because allowing nuisance claims based on the promotion and

sale of goods would “stretch the concept of public nuisance far beyond recognition and would

create a new and entirely unbounded tort antithetical to the meaning and inherent theoretical

limitations of the tort of public nuisance.” In re Lead Paint Litig., 924 A.2d 484, 494 (N.J. 2007).

       This is particularly true here, where the alleged statements by Defendants are lawful,

authorized, and/or mandated by statute. In fact, the alleged statements are the same statements that

the State of Kansas, Ford County, and state and municipal governments across the county have

made and continue to make. At bottom, Plaintiffs admittedly seek a “50-state solution” to plastic

pollution (AC ¶ 7)—but this just illustrates that the issue they allege is the sort of broad societal

problem courts have explained are for legislators to address—not public nuisance suits. Oakland

v. BP, 325 F. Supp. 3d 1017, 1029 (N.D. Cal. 2018); James v. PepsiCo, 222 N.Y.S.3d 907, 917

(N.Y. Sup. Ct. 2024) (dismissing public nuisance claim because applying such a theory to punish


                                                  30
defendants for the production or sale of a lawful product would seek to “transform the judiciary

into an arm of the legislature”). The AC does not allege a public nuisance for multiple reasons.

                1.      Defendants’ Lawful Sale of Plastic and Promotion of Recycling Are
                        Authorized and Protected by Law

        Ford County does not state a public nuisance claim because the conduct it challenges is

authorized by law. Courts have long held that acts “done under authority of law . . . cannot be a

nuisance.” Atchison, Topeka & Santa Fe Ry. v. Armstrong, 80 P. 978, 979 (Kan. 1905); PepsiCo,

222 N.Y.S.3d at 914 (“Essential to demonstrating the viability of a public nuisance claim is to

show that the product in question is defective or unlawful.”); City of Chicago v. Beretta U.S.A.,

821 N.E.2d 1099, 1116 (Ill. 2004) (affirming dismissal of public nuisance claim because there is

no “public right to be free from the threat that some individuals may use an otherwise legal product

. . . in a manner that may create a risk of harm”); SUEZ v. E.I. du Pont, 578 F. Supp. 3d 511, 546

(S.D.N.Y. 2022) (collecting cases and finding an “almost absolute rule” that lawful sales of lawful

products are not public nuisances); In re Firearm, 126 Cal. App. 4th 959, 989 (2005) (holding

compliance with firearm laws defeated nuisance theory).

        Ford County alleges Defendants created a nuisance because they “encouraged recycling of

plastics” by “marketing that plastics were recyclable.” AC ¶¶ 76, 208. But the State of Kansas

itself has done exactly the same thing, declaring that “it is the policy of the state to . . . [e]ncourage

the wise use of resources through development of strategies that . . . recycle materials.” Kan. Stat.

§ 65-3401(e). And the state defines “Recyclables” to include “plastic.” Id. § 65-3402(r). Consistent

with the express policy of the State of Kansas, Dodge City—the county seat of Ford County—

likewise advises consumers to recycle plastics. 33 Defendants’ alleged recycling statements say the



33
     See How to Sort your Recyclables, City of Dodge City, Kansas,
https://www.dodgecity.org/157/How-to-Sort-your-Recyclables (last visited Mar. 8, 2025).


                                                   31
same thing that the State of Kansas and the largest city in Ford County say to their residents.

       Beyond just encouragement, Kansas law actually mandates the use of the RIC system and

“chasing arrows” logo, which, although not used by Defendants because they do not sell consumer

products, Ford County nonetheless also challenges as a nuisance. See Section IV.C. Kansas

requires all entities distributing or selling any plastic container in Kansas to affix the “nationally

recognized code indicating the plastic resin used to produce” the container consistent with the RIC

system. Kan. Stat. § 65-3425(b). Failure to comply constitutes a violation punishable by fines of

up to $500 per violation. Id. § 65-3425(c). 34 Several Kansas government departments and websites

use the “chasing arrows” logo. For example, Dodge City uses the logo for its recycling department,

which provides plastic recycling resources to city residents. 35 Because the challenged statements

are lawful, authorized, and/or mandated by statute, the public nuisance claim fails. Absent a change

in course by government actors, “this lawsuit is simply policy idealism” that contradicts the choices

of elected public officials. PepsiCo, 222 N.Y.S.3d at 916.

       Nor could Ford County predicate its public nuisance claim on the production or sale of

plastic. Courts have found that non-defective, lawful products—such as Defendants’ sale of plastic

resins—cannot support a public nuisance claim. See People v. Sturm, 761 N.Y.S. 2d 192, 192

(App. Div. 2003); J&J, 499 P.3d at 725 (“Applying the nuisance statutes to lawful products . . .

would create unlimited and unprincipled liability for product manufacturers.”). The same goes for

promotion of those lawful products because “public nuisance law” does not extend to the

“manufacturing, marketing, and selling of lawful products.” J&J, 499 P.3d at 723 (emphasis




34
   As explained below in Section IV.C.1, all of the challenged statements are also lawful because
they constitute lobbying efforts protected by the First Amendment. That is yet another reason why
Defendants’ statements cannot form the basis of Ford County’s public nuisance claim.
35
   See supra n.8.


                                                 32
added). As the Eighth Circuit explained, allowing nuisance claims to proceed based on the

production, promotion, and sale of lawful production would vitiate the boundaries between

nuisance and products liability law and create “a monster that would devour in one gulp the entire

law of tort.” Tioga Pub. Sch. Dist. No. 15 v. U.S. Gypsum Co., 984 F.2d 915, 921 (8th Cir. 1993).

               2.      Ford County Does Not Plead Conduct that Is Frequent or Continuous

       Ford County’s theory rests on public statements certain Defendants allegedly made decades

ago. But no Kansas or Tenth Circuit court has found a public nuisance predicated on statements. 36

That is because statements do not constitute “an unreasonable interference with a right common

to the general public,” which is a required element in a public nuisance action. RESTATEMENT

(SECOND) OF TORTS § 821B; Chicago, 821 N.E.2d at 1111. 37

       Ford County’s public nuisance claim also fails because “[a] single offense, or several

isolated offenses, may not constitute a nuisance.” Corbett v. City of Kensington, 530 P.3d 750, 760

(Kan. Ct. App. 2023). The few challenged statements were made by different entities, at different

times, to different audiences, and in different mediums. Compare AC ¶ 113 (Chicago Tribune

Earth Day advertisement from 1992 by the Council on Plastic and Packaging in the Environment),

with id. ¶ 115 (video from 1994 by the Foodservice Packaging Institute distributed in California

schools). These statements are insufficient to constitute a public nuisance. Corbett, 530 P.3d at



36
   Reaching back decades to impose nuisance liability on Defendants for plastic pollution based
on past statements alone is exactly the kind of “severe, disproportionate, and extremely retroactive
burden” that the Constitution prohibits. E. Enters v. Apfel, 524 U.S. 498, 528, 538 (1998).
37
   Ford County has failed to adequately explain what public right Defendants allegedly interfered
with. For example, Ford County claims that it has “a common right to be free from” Defendants’
alleged conduct—that is, the alleged deceptive marketing of the recyclability of plastics. AC ¶ 208.
This is no different from the individual right not to be defrauded described in City of Chicago, 821
N.E.2d at 1115 (distinguishing between individual rights and public rights). But this does not
plausibly allege an interference with any recognized public rights: health, safety, peace, comfort,
or convenience. See RESTATEMENT (SECOND) OF TORTS § 821B. Indeed, a harm that is “collective
in nature” is not like the “the individual right that everyone has not to be” “defrauded.” Id. cmt. g.


                                                 33
760; Hofstetter v. Myers, 228 P.2d 522 (Kan. 1951) (finding operation of an asphalt plant did not

constitute nuisance because of its relative infrequency where it ran 29 days in a 58 day period).

               3.      No Proximate Cause Links the Alleged Conduct and Ford County’s Injury

       “To be actionable, the nuisance complained of must be the proximate cause of the injury

and damage for which recovery is sought.” Baldwin, 468 P.2d 168, 172 (Kan. 1970). Plaintiffs do

not connect Defendants’ alleged statements in the AC with Ford County’s alleged plastic pollution.

The AC says nothing to support the theory that the alleged sparse and decades-old statements

generally promoting recycling proximately caused an increase in plastic demand, let alone any

increase in plastic pollution in Ford County. Indeed, Plaintiffs allege that the purported increased

demand for plastic and the plastic pollution crisis began well before the statements, and that

demand has increased for decades since. AC ¶¶ 64, 141, 147. Plaintiffs also do not allege how

Defendants’ statements could have led to more pollution. If anything, promoting recycling should

have led to less pollution. As the Kansas state government (among many others) has repeatedly

made clear—recycling helps to combat plastic litter. 38 Preventing statements advocating for

recycling will result in less plastic being recycled, and more plastic being disposed of improperly.

       Where, as here, a plaintiff “alleges that Defendants’ misrepresentations and deceptive

conduct resulted in increased global use of . . . a lawful consumer product . . . which, [plaintiff]

says, has caused damage to [its] infrastructure,” the alleged harms “are the result of [product usage]

by third parties” and thus lack a sufficient nexus to Defendants’ alleged conduct to constitute a

public nuisance. Mayor of Balt. v. BP, 2024 WL 3678699, at *10 (Md. Cir. Ct. July 10, 2024). 39


38
  E.g., supra n.9 (“[R]ecycling is the easiest thing [citizens] can do to slow global warming.”).
39
  Ashley Cnty. v. Pfizer, 552 F.3d 659, 662–63 (8th Cir. 2009) (affirming dismissal public nuisance
claim against manufacturers of cold medicines who allegedly fueled a methamphetamine crisis,
holding that “totally independent” criminal acts broke the causal chain); Chicago, 821 N.E.2d at
1138 (dismissing public nuisance action against gun dealers, as the alleged nuisance resulted from
the criminal acts of individuals over whom they have no control); Sturm, 761 N.Y.S.2d at 202.


                                                 34
The acts or omissions of consumers, recycling facilities, waste management entities, and countless

third parties are all independent, intervening steps that break the causal chain between Defendants’

alleged statements and Ford County’s purported injury. Id.; Cherry v. Bd. of Cty. Comms., 202

Kan. 121 (1968). No one could credibly claim that, when a consumer decides to throw a plastic

bottle in the garbage can (as opposed to a recycling bin), Defendants’ statements were the cause.

PepsiCo, 222 N.Y.S. at 914 (“Imposing civil liability on a manufacturer for the acts of a third party

seems contrary to every norm of established jurisprudence.”). In suing only Defendants and not

“all offenders” that have contributed to the alleged nuisance, Plaintiffs engage in “selective

prosecution based on a naïve theory,” which is at odds with basic proximate cause principles. Id.

               4.      Disposal of Plastic Was Not Within Defendants’ Control

       Public nuisance claims typically cover only actions “performed in a location within the

[defendant’s] control.” J&J, 499 P.3d at 724; accord, e.g., Williams v. Amoco Prod. Co., 734 P.2d

1113, 1117 (Kan. 1987) (assessing nuisance claim based on the defendant’s alleged “control” over

natural gas leaking into the water supply). But “a manufacturer does not generally have control of

its product once it is sold.” J&J, 499 P.3d at 726. Most courts have refused to uphold public

nuisance claims premised on how a product is used after it leaves a manufacturer’s control. Id.;

Ashley Cnty., 552 F.3d at 673 (affirming dismissal of public nuisance claim based on marketing

and sale of product because subsequent use of the product was not within manufacturer’s control);

Philadelphia v. Beretta, 126 F. Supp. 2d 882, 911 (E.D. Pa. 2000) (explaining courts have refused

to extend liability to manufacturers after the product at issue “has left the manufacturer’s control”).

       Here, Ford County’s injury is based entirely on harms stemming from alleged improper

disposal of plastics by end users. Because those alleged actions occurred after the plastics left

Defendants’ control, they cannot serve as the basis for a public nuisance claim.




                                                  35
IV.    PLAINTIFFS FAIL TO STATE A VIABLE CONSUMER FRAUD CLAIM

       Plaintiffs’ Consumer Fraud Claims (Counts 3-17) also fail for several additional reasons.

       A.      Plaintiffs Have Not Satisfied the Rule 9(b) Pleading Standard (Counts 3–17)

       The crux of Plaintiffs’ Consumer Fraud claims is that Defendants “ma[de] fraudulent,

deceptive, and material misrepresentations about the recyclability of plastics sold in the United

States” to “artificially increase[] demand and therefore prices of plastic.” AC ¶ 218. The Consumer

Fraud Claims are thus grounded in fraud and subject to Rule 9(b)’s heightened pleading standard. 40

Collins v. Metro. Life Ins. Co., 117 F.4th 1010, 1017 (8th Cir. 2024); FED. R. CIV. P. 9(b). Yet the

AC falls far short of pleading the “who, what, where, when, and how of the alleged fraud,” as

required by Rule 9(b). Joshi, 441 F.3d 552, 556 (8th Cir. 2006). For each Plaintiff, the AC states

only, in boilerplate fashion, that he or she is a resident of a particular state and that he or she

“purchased plastic products” in certain state(s). AC ¶¶ 15–22. Plaintiffs do not identify the quantity

or type of plastics they purchased, when they made the purchases and from whom, what they saw

or relied on in making their purchases, or how much they paid (or purportedly overpaid) for any

of these products. In fact, Plaintiffs do not claim to have ever seen any of the Defendants’ alleged

statements. Nor do they identify which of the purchased products contained resins allegedly

manufactured by Defendants, much less specify which Defendant was responsible for which resin.

       To obscure these pleading deficiencies, Plaintiffs resort to group pleading and seek to

impute statements made by Defendants or third-party trade associations to other Defendants. But

neither tactic salvages Plaintiffs’ deficient claims. First, as discussed in Section II.B.1, Plaintiffs’

group pleading is insufficient to satisfy Rule 9(b) because it fails to “inform[] each defendant of

the nature of his alleged participation in the fraud.” Olin v. Dakota Access, LLC, 910 F.3d 1072,


40
  Plaintiffs’ unjust enrichment claim is also subject to Rule 9(b). Hennessey v. Gap, 86 F.4th 823,
831 (8th Cir. 2023). As discussed in Section V, Plaintiffs’ unjust enrichment claim similarly fails.


                                                  36
1075 (8th Cir. 2018); see, e.g., AC ¶¶ 76, 79, 84, 90.

       Second, Plaintiffs fail to plead facts sufficient to establish either of the bases upon which

statements of a Defendant or third-party trade association could be imputed to another Defendant:

that Defendants were in an agency or alter ego relationship. Plaintiffs must plead with particularity

the connection between each defendant and the statement it seeks to impute to that defendant.

Southland v. INSpire Ins., 365 F.3d 353, 365 (5th Cir. 2004); Taylor v. Airco, 503 F. Supp. 2d 432,

446 (D. Mass. 2007) (refusing to impute organization’s statements to members where “no evidence

of record indicate[d] to what extent each Defendant controlled the contents” of the organization’s

publication), aff’d sub nom., 576 F.3d 16 (1st Cir. 2009).

       Plaintiffs have not alleged facts to establish an agency relationship. They do not allege any

Defendant had the power to act on behalf of another Defendant as an agent, that any Defendant

acted at the direction and/or control of another Defendant, or that any Defendant had a fiduciary

relationship or otherwise had the power to alter legal relations between another Defendant and a

third party. State ex rel. Ford Motor Co. v. Bacon, 63 S.W.3d 641, 642 (Mo. 2002); Master’s

Transp. v. Rev Grp., Inc., 2020 WL 13580661, at *6 (W.D. Mo. Nov. 12, 2020).

       Nor have Plaintiffs alleged facts warranting piercing the corporate veil—“an extraordinary

measure that should be reserved for exceptional circumstances.” HOK Sport v. FC Des Moines,

495 F.3d 927, 935 (8th Cir. 2007). The AC lacks any allegation of control—i.e., “domination of

finances, policy, and business practice” so that the corporate entity has no existence of its own;

that such control perpetuated fraud or a wrong, a violation of a statutory or other positive duty, or

an unjust act in breach of Plaintiffs’ rights; or that the control and subsequent breach of duty

proximately caused Plaintiffs any injury. A.O.A. v. Rennert, 350 F. Supp. 3d 818, 836 (E.D. Mo.

2018). Plaintiffs do not allege any Defendant had unilateral control over the association. Plaintiffs




                                                 37
also never allege Defendants have any corporate ties to any other Defendant, let alone that any

Defendant had control over another Defendant. AC ¶¶ 24–33. Plaintiffs thus cannot establish that

a Defendant used such control to commit fraud, or that such control caused Plaintiffs any harm.

       B.      Plaintiffs Fail to Establish Standing for Certain of the Consumer Fraud
               Claims (Counts 3–7 & 9–17)

       Many of Plaintiffs’ Consumer Fraud Claims fail for other independent reasons. First,

Plaintiffs bring fifteen state law Consumer Fraud Claims, but the named Plaintiffs reside or made

purchases in only three of those states: California, Florida, and Missouri. Plaintiffs fail to allege

any connection to the remaining twelve states, let alone one that would confer Article III standing,

statutory standing, or jurisdiction for this Court to hear Plaintiffs’ claims under those states’

consumer protection statutes. Miller v. Redwood Toxicology Lab’y, Inc., 688 F.3d 928, 934 (8th

Cir. 2012); In re Pre-Filled Propane, 2016 WL 6963059, at *7; see also Sections I and II.F.

Accordingly, the Court should dismiss Counts 3, 5, 7, and 9–17 for lack of standing.

       Second, Plaintiffs do not plead actual reliance and/or causation as required to state a

consumer fraud claim under Arkansas, California, Florida, Massachusetts, Missouri, Montana,

Nevada, North Carolina, and Vermont law. In re Gen. Motors Corp. Litig., 966 F. Supp. 1525,

1536 (E.D. Mo. 1997). 41 None of the Plaintiffs allege that they personally encountered or relied

on any statement by any Defendant about plastics recycling in deciding to purchase any plastics

product. AC ¶¶ 61, 84, 92, 98. Third, the Arkansas, Montana, and South Carolina consumer fraud

statutes only permit consumers to bring individual actions, so Plaintiffs’ class claims under these

statutes must be dismissed. Ark. Code § 4-88-113(f)(1)(B); Mont. Code § 30-14-133(1); S.C. Code



41
  Ark. Code § 4-88-113(f)(2); Kwikset v. Sup. Ct., 246 P.3d 877, 888 (Cal. 2011); Rodi v. S. New
Emg. Sch. of L., 532 F.3d 11, 19 (1st Cir. 2008); Copper Sands v. Copper Sands Realty, LLC, 2013
WL 3270430, at *13 (D. Nev. June 26, 2013); Bumpers v. Cmty. Bank of N. Va., 747 S.E.2d 220,
227 (N.C. 2013); Lombardo v. J&J, 124 F. Supp. 3d 1283, 1290 (S.D. Fla. 2015).


                                                 38
§ 39-5-140; Fejzulai v. Sam’s W., 205 F. Supp. 3d 723, 729 (D.S.C. 2016); Gonzalez v. Am. Honda,

720 F. Supp. 3d 833, 847 (C.D. Cal. 2024). 42 Fourth, claims under the Arkansas, Massachusetts,

and South Carolina statutes separately fail because those states bar claims by indirect purchasers.

Indep. Cnty. v. Pfizer, 534 F. Supp. 2d 882, 888-89 (E.D. Ark. 2008), aff’d Ashley Cnty., 552 F.3d

659; In re Loestrin, 410 F. Supp. at 373; In re Niaspan Antitrust Litig., 42 F. Supp. 3d 735, 763

(E.D. Pa. 2014). Here, Plaintiffs are indirect purchasers as they did not allegedly buy products

directly from Defendants. Fifth, Plaintiffs have not satisfied the prerequisite under Massachusetts

law of sending a demand letter before filing this suit. Bos. v. Aetna, 399 Mass. 569, 574 (1987).

       C.      Plaintiffs Fail to Plausibly Allege Any Actionable Deception (Counts 3–17)

       The Consumer Fraud Claims are governed by the “reasonable consumer” test. See Mo.

Stat. § 407.025. 43 To state a claim based on an affirmative misrepresentation under each of the

Consumer Fraud Claims, Plaintiffs must allege statements “likel[y]” to “mislead a reasonable

consumer.” Ellison-Robbins v. Bimbo Bakeries, 2024 WL 4332049, at *2 (E.D. Mo. Sept. 27,

2024); Ellis v. Nike, 2024 WL 1344805, at *3 (E.D. Mo. Mar. 28, 2024). 44 Plaintiffs premise the

Consumer Fraud Claims on a few decades-old statements that generally promote recycling. None



42
   See also supra n.28.
43
   Moore v. Mack’s, 2017 WL 4350980, at *8 (E.D. Ark. Sept. 29, 2017); Collyer v. Catalina, 712
F. Supp. 3d 1276, 1284 (N.D. Cal. 2024); Saucier v. Countrywide, 64 A.3d 428, 442 (D.C. 2013);
Piescik v. CVS, 576 F. Supp. 3d 1125, 1132 (S.D. Fla. 2021); Patenaude v. Orgain, LLC, 594 F.
Supp. 3d 108, 113 (D. Mass. 2022); Young v. Era, 513 P.3d 505, 513 (Mont. 2022); Tepper v.
Talent, 561 F. Supp. 3d 846, 853 (D. Neb. 2021); Cannuscio v. GEICO, 2022 WL 22881849, at
*5 (D. Nev. Dec. 13, 2022); Guay v. Sig, 626 F. Supp. 3d 536, 545 (D.N.H. 2022); Thornton v.
Kroger, 2022 WL 488932, at *110 (D.N.M. Feb. 17, 2022); Bumpers, 747 S.E.2d at 227; Laccinole
v. Gulf, 2023 WL 157719, at *4 (D.R.I. Jan. 11, 2023); Doe 9 v. Varsity Brands, LLC, 2023 WL
4113198, at *11 (D.S.C. June 21, 2023); Lofts v. Strategies Floor, 224 A.3d 116, 127 (Vt. 2019).
44
   Under Missouri and Arkansas law, the allegedly deceptive statements are not actionable where,
as here, they were not “made in connection with” the sale of a product. Mo. Rev. Stat. § 407.020;
Ark. Code Ann. § 4-88-108. Defendants do not sell consumer plastic products that they
manufacture with their plastic resin pellets, and thus any statements regarding recycling could not
have been made “in connection with” the sale of a product that Plaintiffs allegedly purchased.


                                                39
of these statements promotes or even relates to the sale of a specific consumer good. As detailed

below, Plaintiffs’ claims fail as a matter of law because these statements are protected by the First

Amendment, are specifically authorized by the FTC’s Green Guides, and are subjective, accurate,

and consistent with the government’s endorsement of recycling. To find these statements deceptive

would be to declare the government’s own recycling mandates and statements unlawful.

               1.      Lobbying Efforts Are Protected Under the First Amendment

       Plaintiffs allege that statements made by Defendants, trade associations, industry

organizations, and other third parties were attempts to influence the legislative process regarding

plastics and recycling. See, e.g., AC ¶¶ 87–90. But as discussed above in Section II.C, lobbying

efforts are protected under the First Amendment and the Noerr-Pennington doctrine and cannot be

a basis for liability, including for Plaintiffs’ Consumer Fraud Claims.

               2.      Statements Mandated by the Government Are Protected

       Several of the statements Plaintiffs characterize as misleading are required by most states’

plastics and recycling regimes. For example, Plaintiffs claim the “chasing arrows” logo and the

RIC system deceives consumers as to the recyclability of plastics. AC ¶¶ 91–95. But as the AC

itself concedes, thirty-nine states require plastics manufactures to use this logo and system. Id.

¶ 103. And various governmental entities—including in Missouri and Kansas—use this logo and

system. 45 Id. Under the consumer fraud statutes of Arkansas, Florida, Massachusetts, Rhode

Island, and South Carolina (Counts 3, 6–7, 15–16), actions that are required, authorized, or in

compliance with other state or federal laws cannot form the basis for a claim. 46

       The challenged statements are also entirely consistent with the government’s mandates and



45
  Supra n.5.
46
  Ark. Code Ann. § 4-88-101(3); Fla. Stat. § 501.212(1); Mass. Gen. Laws Ann. ch. 93A, § 3;
N.M. Stat. Ann. § 57-12-7; R.I Gen. Laws § 6-13.1-4(a); S.C. Code Ann, § 39-5-40(a).


                                                 40
statements regarding recycling. Plaintiffs allege no facts to the contrary. Governmental entities

have made far more declarative and specific statements regarding the efficacy and impact of

recycling. Notably, Plaintiff Ford County’s own government center (Dodge City) actively

encourages its residents “that recycling is the easiest thing they can do to slow global warming.”

See supra n.9. For the challenged statements to be deceptive, the Court must find that the decades

of governmental recycling mandates and statements are unlawful.

               3.      No Reasonable Consumer Would Be Misled by the Challenged Statements

       Despite claims of a decades-long fraudulent campaign, Plaintiffs identify only a few

allegedly deceptive statements. See infra at 7. However, none of these statements are actionable

and none would mislead a reasonable consumer. 47

       First, the Recycling Initiative Statements are too subjective, and Plaintiffs have pled no

facts establishing falsity or deception. 48 The statements are not objective or “measurable,” and lack

any “empirical benchmark.” These statements contain no remotely “specific” or “quantifiable”

claim on recycling rates. See Appliance Recycling Ctrs. v. JACO, 378 F. App’x 652, 654 (9th Cir.

2010) (deeming statements describing recycling method as “a ‘unique’ system with

‘unprecedented’ results” not actionable as they did not concern “specific or absolute

characteristics”); In re Mun., 429 F. Supp. 3d 647, 656 n.4 (D. Minn. 2019) (finding statements

that a tar coating for driveways was “superior” and complied with industry standards inactionable).

They are thus too “vague” to be actionable. Am. Italian v. Pasta, 371 F.3d 387, 391 (8th Cir. 2004).



47
   Under the MMPA, a plaintiff must “establish” that “he acted as a reasonable consumer would
in light of all circumstances.” Mo. Rev. Stat. § 407.025.1(2)(a). Here, Plaintiffs have not done so.
Missouri law does not excuse their failure to educate themselves “where [they] ha[d] the
opportunity to read something but cho[]se not to do so.” Bell v. Annie’s Inc., 2023 WL 3568623,
at *3 (E.D. Mo. May 18, 2023).
48
   See AC ¶ 85 (quoting Time advertisement); id. ¶ 105 (quoting Chicago Tribune ad); id. ¶ 107
(quoting educational materials distributed by California state government).


                                                 41
       Further, the AC confirms the statements are indeed accurate. AC ¶¶ 98–99, 103. Plaintiffs

repeatedly explain that many plastic products are ultimately recycled. See, e.g., id. ¶ 45 (explaining

that there are “viable markets” for PET and HDPE). Moreover, these statements do not even relate

to the recyclability of a particular product—much less suggest the ultimate recycling rate for

plastics industry-wide. Curtis v. 7-Eleven, Inc., 2022 WL 4182384, at *13 (N.D. Ill. Sept. 13, 2022)

(dismissing where defendant “never represented anything about the likelihood of recycling”);

Swartz, 2023 WL 4828680, at *3 (promoting recyclability is not “a promise that an object will

actually be recycled”). Thus, the Recycling Initiative Statements are not actionable.

       Second, the Recyclability Statements—relating to the recyclability of certain types of

products—are both foreclosed by state law and not deceptive. Regarding the former, Arkansas,

Florida, Massachusetts, New Mexico, Rhode Island, and South Carolina law provide that actions

permitted by other state or federal law cannot support a consumer fraud claim. 49 Here, all of these

states (except Arkansas) have codified or expressed deference to the FTC’s Green Guides as law,

which specifically authorize the recyclable claims here. 50 16 CFR § 260.12(b)(1) (permits plastic

marketers to “make unqualified recyclable claims” of recyclability as long as recycling facilities

are available to a certain percentage of consumers where the plastics are sold). 51 Id. Plaintiffs plead

no facts indicating that any of the relevant jurisdictions fails to meet the FTC’s recycling facilities

threshold. Thus, the claims brought under Florida, Massachusetts, New Mexico, Rhode Island, and

South Carolina law (Counts 6–7, 13, 15–16) fail for the Recyclability Statements.



49
   See Ark. Code § 8-9-302; Fla. Stat. § 501.212(1); Mass. Gen. Laws Ann. ch. 93A, § 3; N.M.
Stat. Ann. § 57-12-7; R.I Gen. Laws § 6-13.1-4(a); S.C. Code Ann, § 39-5-40(a).
50
   See D.C. Code § 28-3901(d); Fla. Stat. § 501.204(2); Mo. Code Regs. tit. § 15 CSR 60-
8.020(1)(A); Mass. Gen. Laws ch. 93A, § 2; Mont. Code § 27–2–2116; N.H. Rev. Stat. § 358-
A:13; N.M. Stat. § 57-12-4; S.C. Code § 39-5-20(b); Vt. Stat. tit. 9, § 2453(b); Cal. Bus. & Prof.
Code § 17580.5; R.I. Gen. Laws § 6-13.3-1; Marshall v. Miller, 276 S.E.2d 397, 399 (N.C. 1981).
51
   And at least one federal statute defines plastic as a recyclable material. See 42 U.S.C. § 9627(b).


                                                  42
       Additionally, there is nothing deceptive about the Recyclability Statements as evidenced

by the Green Guides. Recyclable claims are not deceptive if a material or product merely “can be

collected, separated, or otherwise recovered from the waste stream through an established

recycling program”—the material or product need not actually be recycled. 16 CFR § 260.12(a).

Further, courts have consistently held that describing plastic as “recyclable” only indicates that it

“can be recycled,” not that it in fact will be recycled, and not even that it “probably will be

recycled” or is “easy to recycle.” Curtis, 2022 WL 4182384, at *14; Swartz v. Coca-Cola Co.,

2022 WL 17881771, at *1 (N.D. Cal. Nov. 18, 2022) (a reasonable consumer would understand

that describing a bottle as “100% recyclable” is not “a promise that [the bottle] will actually be

recycled”); Lizama v. H&M LP, 2023 WL 3433957, at *5 (E.D. Mo. May 12, 2023) (no reasonable

consumer would understand statement that a product was made from “more sustainable materials”

to mean the product was “inherently ‘sustainable’”). This is because, as Plaintiffs concede, there

are a host of reasons why recyclable plastics may not be recycled. 52 Curtis, 2022 WL 4182384, at

*13 (“[R]ecyclable” “is about what can happen,” “not a promise about the state of the recycling

industry,” nor “a prediction of what is likely to happen.”).

       To support a consumer fraud claim on a statement that a product is “recyclable,” Plaintiffs

would have to allege that products advertised as recyclable are not, in fact, recyclable. Id. But the

AC does not allege the products Plaintiffs allegedly purchased—or Defendants’ plastic resin

pellets—are not recyclable. To the extent these products are not ultimately recycled, that is

unfortunate—but it does not create or establish deception by Defendants. Id. at *14. No reasonable

consumer would be misled by these recyclability statements.



52
  See AC ¶¶ 49–51 (sorting), 70–71 (economic), 73 (contamination); Swartz, 2022 WL 17881771,
at *1 (dismissing claims that “100% recyclable” label was misleading where complaint itself
explained that certain issues prevented otherwise recyclable products from being recycled).


                                                 43
       Plaintiffs’ allegations concerning recycling rates also illustrate that information concerning

plastics recycling has always been “widely available and readily accessible.” Lizama, 2023 WL

3433957, at *7. Thus, although the challenged statements do not even suggest that most plastic

products are ultimately recycled, even if they did, a “reasonable consumer[]” could “independently

verify whether these representations are consistent with other, publicly available data.” Id.

Considering the extensive recycling “information . . . available,” no reasonable consumer would

be misled by these statements. Ellis, 2024 WL 1344805, at *4; Lizama, 2023 WL 3433957, at *7.

       Third, as to the Aspirational Statement, Plaintiffs allege that in 1991, trade associations

“heavily publicized . . . commitments” of reaching a twenty-five percent recycling rate by 1995.

AC ¶ 104. As the article Plaintiffs cite makes clear, however, this commitment was a “goal”—and

a “goal” or other “forward looking” statement cannot be deceptive as a matter of law. Zanani v.

Savad, 217 A.D.2d 696, 697 (2d Dep’t 1995) (“something which is hoped or expected to occur in

the future” is inactionable); Rochester v. Monsanto, 883 F. Supp. 2d 835, 882 (E.D. Mo. 2012).

No reasonable consumer would mistake this “goal” for a “guarantee.” Nivia v. Nationstar, 2014

WL 4146889, at *6 (S.D. Fla. Aug. 21, 2014); Guerrero v. Henkel, 2024 WL 2769745, at *7 (E.D.

Mo. 2024). Moreover, this statement demonstrates the implausibility of Plaintiffs’ allegations.

After all, the trade associations publicly announced most plastics were not recycled. N.Y. v. Exxon

Mobil Corp., 2025 WL 209843, at *11 (N.Y. Sup. Ct. Jan. 14, 2025) (dismissing claims regarding

allegedly deceptive statements on impact of fossil fuels on climate change where complaint

conceded that connection between fossil fuels and climate change was public information).

               4.     Plaintiffs Fail to Allege an Actionable Omission (Counts 3–4, 8)

       Plaintiffs only allege an omission claim under Arkansas, California, and Missouri law.

Each claim fails for independent reasons. AC ¶¶ 226, 237, 265. To state an omission claim under

these statutes, the allegedly omitted fact must be “material.” See Riddell v. GM LLC, 2024 WL


                                                44
2077559, at *7 (E.D. Mo. May 9, 2024). 53 Here, Plaintiffs allege that Defendants deceptively

omitted the rates at which plastics were recycled. See AC ¶ 218. However, Plaintiffs have pled no

facts to establish that the rates at which specific plastics were recycled is what motivated their

purchases. Indeed, Plaintiffs’ motivation was to purchase the underlying product packaged in

plastic. See id. ¶¶ 34–42 (describing plastic products such as soft drink bottles and pill bottles).

Thus, all of Plaintiffs’ omission claims fail on this basis.

       Plaintiffs’ omissions claims under California and Arkansas law separately fail because they

do not allege facts with the specificity required by Rule 9(b) to establish that a Defendant had a

duty to disclose recycling rates. See Ahern v. Apple Inc., 411 F. Supp. 3d 541, 575 (N.D. Cal.

2019). Under California law, a duty to disclose arises only where the omission: (1) “relates to a

safety hazard”; or (2) is “material, central to the products function.” Hammerling v. Google LLC,

615 F. Supp. 3d 1069, 1085 (N.D. Cal. 2022). Here, Plaintiffs do not allege that the purportedly

omitted fact—that less than ten percent of plastics are recycled—either relates to a safety hazard

or is central to the products’ function. For example, the rate plastic water bottles are recycled at is

wholly irrelevant to the function of the water bottle—i.e., to hold liquid. Under Arkansas law, a

duty to disclose only exists “where there is an established relationship between the parties such as

a contractual relationship or a fiduciary relationship.” White v. Volkswagen Grp. of Am., Inc., 2013

WL 685298, at *9 (W.D. Ark. Feb. 25, 2013). Plaintiffs allege no relationship with any Defendant,

nor could they as Defendants do not manufacture any consumer products.

       Their omission claims under California and Missouri law also fail because Plaintiffs do not

establish “the average consumer would be unlikely to know or be able to research” the omitted




53
 Watkins v. MGA Ent., Inc., 550 F. Supp. 3d 815, 833 (N.D. Cal. 2021); Edwards v. Camden
Operations, LLC, 2018 WL 3478905, at *3 (W.D. Ark. July 19, 2018).


                                                  45
fact. Tucker v. Gen. Motors, 58 F.4th 392, 398 (8th Cir. 2023); Mo. Rev. Stat. § 407.025.1(2);

Milman v. FCA, 2019 WL 3334612, at *6 (C.D. Cal. Apr. 15, 2019). As mentioned, Plaintiffs rely

on decades of public information on the alleged limitations of recycling, including the very

recycling data Plaintiffs claim that Defendants omitted. AC ¶¶ 66, 68, 70–71, 74. Accordingly, to

the extent they were not already, the average consumer could have easily learned of the limitations

of recycling, and Plaintiffs are not excused from failing to educate themselves “where [they] ha[d]

the opportunity to read something but cho[]se not to do so.” See Bell, 2023 WL 3568623, at *4.

V.      PLAINTIFFS FAIL TO STATE AN UNJUST ENRICHMENT CLAIM (COUNT 46)

        Plaintiffs fail to plead an unjust enrichment claim for several independent reasons.

Plaintiffs assert an “unjust enrichment claim” on behalf of state subclasses, but do not identify the

unjust enrichment laws of any particular jurisdiction that they seek to invoke. AC ¶¶ 513–20. The

failure to identify “any particular jurisdiction to which allegations should apply . . . is fatal.” In re

Packaged Seafood Prod. Antitrust Litig., 242 F. Supp. 3d 1033, 1088 (S.D. Cal. 2017). Courts

routinely dismiss unjust enrichment claims for “failure to specify the particular state law under

which [plaintiffs] intend to proceed.” In re Ductile Iron Pipe Fittings Indirect Purchaser Antitrust

Litig., 2013 WL 5503308 at *8 (D.N.J. Oct. 2, 2013).

        Plaintiffs also cannot state an unjust enrichment claim under Arkansas, California,

Massachusetts, and New Hampshire law as these states have held it is not an independent cause of

action. 54 Further, Plaintiffs cannot maintain an unjust enrichment claim under California, Florida,

Massachusetts, Missouri, Montana, Nebraska, Nevada, New Hampshire, New Mexico, North

Carolina, and South Carolina law, because each of these states require Plaintiffs to plead an



54
  Foreman v. Haliron, 2021 WL 5139519, at *6 (W.D. Ark. Nov. 3, 2021); Greenley v. Kochava,
684 F. Supp. 3d 1024, 1055 (S.D. Cal. 2023); Robert E. Ricciardelli v. Home Depot, 679 F. Supp.
2d 192, 210 (D. Mass. 2010); OneSky v. Sullivan, 2012 WL 124739, at *12 (D.N.H. Jan. 17, 2012).


                                                   46
inadequate remedy at law, which Plaintiffs have failed to do here. 55

       Lastly, even if Plaintiffs had identified Missouri law as the applicable law for their unjust

enrichment claim, the claim would fail. As an initial matter, the Court cannot apply the law of

Missouri to transactions in other states without violating the Dormant Commerce Clause. Healy v.

Beer Inst., 491 U.S. 324, 336 (1989) (finding state law cannot apply to transactions that occur

outside of state’s borders without “extraterritorial effects” on interstate commerce in violation of

the Dormant Commerce Clause). Further, Plaintiffs do not allege any facts demonstrating how

Defendants benefitted from the alleged conspiracy. For example, there are no allegations that

Defendants sold more plastic resin, sold plastic resin at a higher price, or that any demand or

pricing increase impacted Defendants as opposed to the entities that actually manufactured and

sold plastic products to consumers. See AC ¶¶ 171–74, 185–87. Nor do Plaintiffs allege that

Defendants received any benefit from Plaintiffs, nor could they since Plaintiffs do not allege they

purchased anything from Defendants. Wiles v. Sw. Bell Tel., 2010 WL 1463025, at *4 (W.D. Mo.

Apr. 13, 2010) (“[A] plaintiff must allege that a benefit was conferred on the defendant by that

particular plaintiff.”). The claim is also barred under the economic loss doctrine, which prohibits

recovery for tort claims that assert purely economic damages such as higher prices, as alleged here.

Hammack v. Harbor Freight, 2022 WL 14225017, at *4 (W.D. Mo. Oct. 24, 2022).




55
   Cho v. Hyundai, 636 F. Supp. 3d 1149, 1173 (C.D. Cal. 2022); Bule v. Garda, 2014 WL
3501546, at *3 (S.D. Fla. July 14, 2014); Santagate v. Tower, 833 N.E.2d 171, 176 (Mass. App.
Ct. 2005); May v. Makita, 2023 WL 417487, at *6 (E.D. Mo. Jan. 26, 2023); Mont. v. Trinity, 473
P.3d 1009, 1012 (Mont. 2020); Pilot v. Hofarth, 550 N.W.2d 27, 33 (Neb. 1996); Korte v. State
on Rel. of Bd. of Regents of Nev., 492 P.3d 540, 541 (Nev. 2021); Mangiardi v. Dewey, 2013 WL
1856338, at *3 (D.N.H. Apr. 30, 2013) In re Santa Fe Nat. Tobacco Co. Liab. Litig., 288 F. Supp.
3d 1087, 1193 (D.N.M. 2017); Embree Const. v. Rafcor, Inc., 411 S.E.2d 916, 920 (N.C. 1992);
Melton v. Carolina Power & Light, 2012 WL 2401635, at *2 (D.S.C. June 25, 2012).


                                                47
VI.    ALL OF PLAINTIFFS’ CLAIMS ARE TIME-BARRED (ALL COUNTS)

       Dismissal is appropriate at the pleading stage when “the complaint itself establishes that

the claim is time-barred.” Illig v. Union, 652 F.3d 971, 976 (8th Cir. 2011). Plaintiffs’ claims have

the following statutes of limitations: 3–6 years for the Antitrust Claims, which began to accrue

when Defendants entered into the alleged conspiracy; 56 2 years for Ford County’s public nuisance

claim, 57 which began to accrue when the nuisance was first discoverable; 58 and 2–10 years for the

Consumer Fraud Claims and unjust enrichment claim, which began to accrue upon the purchase

of plastic products. 59 Plaintiffs’ claims all accrued decades ago and are now time-barred.

       Even being charitable and assuming the conspiracy began in 1990 (the latest date it is

alleged to have begun), the Antitrust Claims are time-barred because the AC was filed thirty-five

years later. Similarly, the public nuisance claim is time-barred because the pollution underlying

the claim allegedly began decades ago. AC ¶ 66 (“By the end of the [1960s] and into the early

1970s, plastics were identified as a key part of the developing solid waste crisis.”). And because



56
   15 U.S.C. § 15(b); Ariz. Rev. Stat. § 44-1410; Cal. Bus. & Prof. Code § 16750.1; Colo. Rev.
Stat. Ann. § 6-4-119; Conn. Gen. Stat. § 35-40; D.C. Code § 28-4511; Haw. Rev. Stat. Ann. § 480-
24; 740 Ill. Comp. Stat. 10/6; Iowa Code § 553.16; Kan. Stat. § 60-512; Me. Rev. Stat. Ann. Tit.
14 § 752; Md. Code Ann., Com. Law § 11-209; Mich. Comp. Laws § 445.781; Minn. Stat. Ann.
§ 325D.64; Miss. Code § 15-1-49; Neb. Rev. Stat. § 59-829; Nev. Rev. Stat. § 598A.220; N.H.
Rev. Stat. § 356:12; N.M. Stat. § 57-1-12; N.Y. Gen. Bus. Law § 340; N.C. Gen. Stat. § 75‑16.2;
N.D. Cent. Code § 51-08.1-10; Or. Rev. Stat. § 646.800; S.D. Codified Laws § 37-1-14.4; Tenn.
Code § 47-25-104; Utah Code § 76-10-3117; W. Va. Code §47-18-11; Wis. Stat. § 133.18.
57
   K.S.A. 60-513. All Kansas based claims are also barred by the Kansas ten-year statute of repose.
Black v. Union Pac., 2024 U.S. Dist. LEXIS 141907, at *6 (Kan. D. Ct. Aug. 8, 2024).
58
   The date of accrual for public nuisance claims depends on if the nuisance is continuing or
permanent in nature. Compare Black, 2024 U.S. Dist. LEXIS 141907, at *24 (continuing nuisance
creates new cause of action with each injury), with Bowen v. City of Kansas City, 231 Kan. 450
(1982) (finding plaintiff must bring a claim for permanent nuisance within two years of when the
first loss occurred). Here, the alleged nuisance is permanent. AC ¶¶ 141–43, 145, 209(c).
59
   Ark. Code § 4-88-115; Cal. Bus. & Prof. Code § 17208; D.C. Code § 12–301; Fla. Stat. §
95.11(3); Mass. Gen. Laws 260, § 5A; Mo. Stat. § 516.120; Mont. Code § 27–2–211; Neb. Rev.
Stat. § 59-1612; Nev. Rev. Stat. § 11.190(2)(d); N.H. Rev. Stat. § 508:4; N.M. Stat. § 37-1-4; N.C.
Gen. Stat. § 75-16.2; 9 R.I. Gen. Laws § 9-1-13; S.C. Code § 39-5-150; Vt. Stat. tit. 12, § 511.


                                                 48
any of Defendants’ allegedly deceptive statements were made decades ago, AC ¶¶ 78–120, the

statute of limitations on the Consumer Fraud or unjust enrichment claims expired long ago. 60

       Plaintiffs cannot save their untimely claims by relying on fraudulent concealment tolling

or arguing that Plaintiffs could not have discovered, that “most plastics were not recyclable.” AC

¶¶ 156–59. To invoke these doctrines, Plaintiffs must plead Defendants’ fraudulent conduct under

Rule 9(b)—which they fail to—and also demonstrate that Defendants actively tried to conceal

information from consumers. Summerhill v. Terminix, 637 F.3d 877, 880 (8th Cir. 2011).

Plaintiffs’ formulaic recitation of the tolling elements is inadequate. To invoke fraudulent

concealment, Plaintiffs must plead: (1) an affirmative misrepresentation; (2) actual concealment;

and (3) due diligence to discover their claims. Plaintiffs have failed to plead fraudulent

concealment, and their failure to do so also prevents the discovery rule from tolling. Ridder v.

Hibsch, 94 S.W.3d 470, 475 (Mo. Ct. App. 2003).

       Plaintiffs do not allege “an act of affirmative misrepresentation over and above the acts

creating the cause of action”—that is, a misrepresentation separate and apart from the alleged

conspiracy or challenged statements. Ripplinger v. Amoco Oil Co., 916 F.2d 441, 442 (8th Cir.

1990). While Plaintiffs allege that Defendants misrepresented that “plastic products” can be

recycled, at best, any such misrepresentation forms the basis of the conspiracy or fraud itself—and

therefore, cannot also be an act “over and above” it. Id.; New Prime, Inc. v. Eaton Corp., 2017 WL

5992466, at *3 (W.D. Mo. Mar. 16, 2017) (Bough, J.) (dismissing Sherman Act claims).

       Plaintiffs also do not sufficiently plead Defendants took affirmative steps to conceal the




60
  The only challenged statements allegedly occurring more recently were by NAPCOR. See AC
¶¶ 150–52. However, Plaintiffs do not allege any affiliation between Defendants and NAPCOR
and NAPCOR’s members are PET container manufacturers and distributors, not resin
manufacturers like Defendants. See id. ¶ 150.


                                                49
conspiracy or the purported truth. See In re Milk Prods. Antitrust Litig., 84 F. Supp. 2d 1016, 1023

(D. Minn. 1997), aff’d, 195 F.3d 430 (8th Cir. 1999); E. Maine Baptist, 2007 WL 927760 at *4

(E.D. Mo. Mar. 26, 2007). Indeed, the AC, which relies exclusively on public statements, suggests

the opposite. AC ¶¶ 93–94, 99–104. “It is difficult to reconcile the Plaintiffs’ belief that Defendants

conducted this conspiracy via public statements with [the] assertion that Defendants were also

concealing it.” In re Pork, 495 F. Supp. 753, 774 (D. Minn. 2020) (rejecting tolling theory).

       Lastly, Plaintiffs do not allege facts establishing that they exercised due diligence to

discover their claims. Plaintiffs’ assertion that they could not have discovered the conspiracy or

purported truth is insufficient. Huffman v. Credit Union, 2013 WL 1121268, at *4 (W.D. Mo. Mar.

18, 2013). The AC alleges decades of publicly available information regarding the limitations of

recycling and the plastic pollution crisis. AC ¶¶ 66, 68, 70–71, 74. Plaintiffs also allege that

Defendants created trade associations in the 1980s to combat information from the government,

which similarly documented the limitations of recycling in great detail. Id. ¶¶ 85, 87, 89–95, 99,

105. Given the volume of public information available over several decades, any consumer

(including Plaintiffs) could have reasonably discovered information about the availability and rates

of recycling. Thus, Plaintiffs’ own failure to exercise reasonable diligence dooms their tolling

arguments. Summerhill, 637 F.3d at 881 (no fraudulent concealment where plaintiff “fail[ed] to

allege when and how he discovered [the] alleged fraud”); In re Milk, 84 F. Supp. 2d at 1024–25

(no fraudulent concealment where plaintiffs provided “[n]o explanation” of the “steps [they] used

to discover their claim” and failed to explain “why the facts” “were not available to them” earlier).

                                          CONCLUSION

       For the foregoing reasons, Defendants respectfully request the Court dismiss Plaintiffs’ AC

in its entirety with prejudice pursuant to Rules 12(b)(1) and 12(b)(6).




                                                  50
Dated: March 10, 2025                            Respectfully submitted,

                                                 By: /s/ William F. Ford

Thomas P. Schult, MO Bar # 29986                 William F. Ford (MO #35116)
Jeffrey D. Morris, MO Bar # 45243                bill.ford@lathropgpm.com
Lauren Tallent, MO Bar # 72304                   Richard N. Bien (MO #31398)
                                                 richard.bien@lathropgpm.com
Courtney A. Kroeger, MO Bar # 77213              Emma C. Halling (MO #75986)
BERKOWITZ OLIVER LLP                             emma.halling@lathropgpm.com
2600 Grand Boulevard, Suite 1200                 Grant A. Harse (KS #001043)
Kansas City, Missouri 64108                      grant.harse@lathropgpm.com
Telephone: (816) 561-7007                        Brody Sabor (MO #73421)
Facsimile: (816) 561-1888                        brody.sabor@lathropgpm.com
tschult@berkowitzoliver.com                      LATHROP GPM LLP
                                                 2345 Grand Boulevard, Suite 2200
jmorris@berkowitzoliver.com                      Kansas City, Missouri 64108
ltallent@berkowitzoliver.com                     Telephone: (816) 292-2000
ckroeger@berkowitzoliver.com
                                                 David J. Lender (admitted Pro Hac Vice)
Joshua D. Dick (admitted pro hac vice)           david.lender@weil.com
GIBSON, DUNN & CRUTCHER LLP                      WEIL, GOTSHAL & MANGES LLP
                                                 767 Fifth Avenue
One Embarcadero Center, Suite 2600               New York, New York 10153
San Francisco, California 94111                  Telephone: (212) 310-8000
Telephone: (415) 393-8200
jdick@gibsondunn.com                             David R. Singh (Pro Hac Vice to be filed)
                                                 david.singh@weil.com
Theodore J. Boutrous Jr. (admitted pro hac       Morgan MacBride (Pro Hac Vice to be filed)
vice)                                            Morgan.macbride@weil.com
                                                 WEIL, GOTSHAL & MANGES LLP
Christopher D. Dusseault (admitted pro hac       201 Redwood Shores Parkway
vice)                                            Redwood Shores, California 94065
Perlette Michèle Jura (admitted pro hac vice)    Telephone: (650) 802-3000
Bradley J. Hamburger (admitted pro hac vice)
GIBSON, DUNN & CRUTCHER LLP                      Attorneys for Defendant Exxon Mobil
333 South Grand Avenue                           Corporation
Los Angeles, California 90071
Telephone: (213) 229-7000                        Robert J. Hoffman MO# 76565
tboutrous@gibsondunn.com                         Robert M. Thompson MO# 38156
cdusseault@gibsondunn.com                        Grace E. Martinez MO# 70921
pjura@gibsondunn.com                             BRYAN CAVE LEIGHTON PAISNER
bhamburger@gibsondunn.com                        One Kansas City Place
                                                 1200 Main Street, Suite 3800
Attorneys for Defendant Chevron U.S.A.           Kansas City, MO 64105
Inc.                                             Phone: 816-374-3229
                                                 Fax: 816-374-3300
Kara T. Stubbs MO# 43414                         Bob.hoffman@bclplaw.com
BAKER STERCHI COWDEN & RICE                      Rmthompson@bclplaw.com
LLC                                              Grace.martinez@bclplaw.com
2400 Pershing Road, Suite 500



                                                51
Kansas City, MO 64108                             Nader R. Boulos, P.C. (admitted pro hac vice)
Phone: 816-471-2121                               Daniel E. Laytin, P.C. (admitted pro hac vice)
Fax: 816-472-0288                                 Jonathan N. Adair (admitted pro hac vice)
Stubbs@bakersterchi.com                           KIRKLAND & ELLIS LLP
                                                  333 West Wolf Point Plaza
Nader R. Boulos, P.C. (admitted pro hac vice)     Chicago, IL 60654
Daniel E. Laytin, P.C. (admitted pro hac vice)    Phone: 312-862-2000
Jonathan N. Adair (admitted pro hac vice)         Fax: 312-862-2200
KIRKLAND & ELLIS LLP                              Nader.boulos@kirkland.com
333 West Wolf Point Plaza                         Daniel.laytin@kirkland.com
Chicago, IL 60654                                 Jonathan.adair@kirkland.com
Phone: 312-862-2000
Fax: 312-862-2200                                 Matthew J. Blaschke (Pro Hac Vice to be
Nader.boulos@kirkland.com                         filed)
Daniel.laytin@kirkland.com                        mblaschke@kslaw.com
Jonathan.adair@kirkland.com                       Bailey J. Langner (Pro Hac Vice to be filed)
                                                  blangner@kslaw.com
Counsel for Defendant DuPont de Nemours,          KING & SPALDING LLP
Inc.                                              50 California Street, Suite 3300
                                                  San Francisco, CA 94111
David L. Anderson (admitted pro hac vice)         Telephone: (415) 318-1200
dlanderson@sidley.com                             Facsimile: (415) 318-1300
Sheila A.G. Armbrust (admitted pro hac vice)
sarmbrust@sidley.com                              Counsel for Defendants Dow Inc. and
David A. Goldenberg (admitted pro hac vice)       The Dow Chemical Company
dgoldenberg@sidley.com
SIDLEY AUSTIN LLP                                 Tristan L. Duncan (MO #39525)
555 California Street, Suite 2000                 SHOOK, HARDY & BACON L.L.P.
San Francisco, CA 94104                           2555 Grand Blvd.
Telephone: (415) 772-1200                         Kansas City, MO 64108
                                                  Tel: 816-474-6550
Zachary J. Parker (SBN 71120)                     Fax: 816-421-5547
zparker@sidley.com                                Email: tlduncan@shb.com
SIDLEY AUSTIN LLP
One South Dearborn Street                         Daniel B. Rogers (FL #0195634)
Chicago, IL 60603                                 SHOOK, HARDY & BACON L.L.P.
Telephone: (312) 853-7000                         Citigroup Center, Suite 3200
                                                  201 South Biscayne Boulevard
Attorneys for Defendant American                  Miami, Florida 33131
Chemistry Council, INC.                           Tel: 305-358-5171
                                                  Fax: 305-358-7470
Michael E. Scoville (Admitted Pro Hac Vice)       Email: drogers@shb.com
MCGUIREWOODS LLP
188 16th Street, Suite 500                        Attorneys for Defendant Chevron Phillips
Black Lives Matter Plaza                          Chemical Company LP
Washington, DC 20006



                                                 52
Telephone: (202) 828-2812                    G. Edgar James MO# 49585
Facsimile: (202) 828-2980                    James M. Humphrey IV MO# 50200
mscoville@mcguirewoods.com                   4435 Main Street, Suite 910
                                             Kansas City, MO 64111
                                             Telephone: +1.816.623.0544
Gregory J. DuBoff (Admitted Pro Hac Vice)    Telephone: +1.816.631.0669
MCGUIREWOODS LLP                             ejames@jamessobba.com
Gateway Plaza                                jhumphrey@jamessobba.com
800 East Canal Street
Richmond, Virginia 23219                     David C. Kiernan (admitted pro hac vice)
Telephone: (804) 775-1154                    Craig E. Stewart (admitted pro hac vice)
                                             Emily F. Knox (admitted pro hac vice)
Facsimile: (804) 775-2054                    JONES DAY
gduboff@mcguirewoods.com                     555 California Street, 26th Flr.
                                             San Francisco, CA 94104
Karrie J. Clinkinbeard (Bar ID 51413)        Telephone: +1.415.626.3939
Brian M. Nye (Bar ID 69545)                  Facsimile: +1.415.875.5700
ARMSTRONG TEASDALE LLP                       dkiernan@jonesday.com
                                             cestewart@jonesday.com
2345 Grand Boulevard, Suite 1500             egoldbergknox@jonesday.com
Kansas City, Missouri 54108-2617
Telephone: (816) 221-3420                    Nicole M. Perry (admitted pro hac vice)
Facsimile: (816) 221-0786                    J. Bruce McDonald (admitted pro hac vice)
kclinkbinbeard@atllp.com                     Andrew M. Ryngaert (admitted pro hac vice)
bnye@atllp.com                               JONES DAY
                                             717 Texas, Suite 3300
                                             Houston, TX 77002.2712
Attorneys for Defendant Eastman Chemical     Telephone: +1.832.239.3939
Company                                      Facsimile: +1.832.239.3600
Richard Godfrey (pro hac vice)               nmperry@jonesday.com
                                             bmcdonald@jonesday.com
richardgodfrey@quinnemanuel.com              aryngaert@jonesday.com
R. Allan Pixton (pro hac vice)
allanpixton@quinnemanuel.com                 Attorneys for Defendant LyondellBasell
QUINN EMANUEL URQUHART &                     Industries, N.V.
SULLIVAN, LLP
191 N. Wacker Dr., Suite 2700
Chicago, IL 60606
Telephone: (312) 705-7400
Facsimile: (312) 705-7401

Booker T. Shaw, #255480 MO
bshaw@thompsoncoburn.com
THOMPSON COBURN LLP
One US Bank Plaza
St. Louis, MO 63101
Telephone: (314) 552-6000
Facsimile: (314) 552-7000

Attorneys for Celanese Corporation




                                            53
                                CERTIFICATE OF SERVICE

       The foregoing was electronically filed with the Court this 10th day of March, 2025, and

served via the Court’s ECF system upon all counsel of record.



                                                   /s/ Richard N. Bien
                                                   An Attorney for Defendant ExxonMobil
                                                   Corporation




                                              54
